Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 1 of 59




               EXHIBIT 1
            Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 2 of 59



 1                                                                                    Honorable Ricardo S. Martinez

 2

 J


4

 5


6                                 UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON AT SEATTLE
7
      ABDIKARIM KARRANI,
8                                                                    No.:   2: 1 8-cv-01 5 1 O-RSM
                          Plaintiff,
9     V                                                             PLAINTIFF' S FIRST INTERROGATORIES
                                                                    AND REQUESTS FOR PRODUCTION TO
10    JETBLUE AIRV/AYS CORPORATION,                          A
                                                                    DEFENDANT JETBLUE AIRWAYS
      Delaware corporation,                                         CORPORATION I¡lD DEF ENDANT
11                                                                  JET B LUE AI RII/AYS C O RP O RATI ON'S
                          Defendant.                                F I RST S UP P L E ME NTA L I?¿'SPO¡/,S¿S
t2                                                                  THERETO

T3
              JetBlue Airways Corporation ("JetBlue") supplement their initial responses to Plaintiffls
t4   First Interrogatories and First Requests for Production, as follows. These supplemental responses
15   are based on information reasonably available at this time after a duty                diligent search.

l6                                              GENERAL OBJECTIONS

t7            JetBlue objects to the extent that Plaintiff s instructions purport to impose a duty beyond

     that imposed by the Federal Rules of Civil Procedure and Local Civil Rules. JetBlue also objects
18
     to Plaintiffls definitions to the extent they differ from the plain meaning of any particular term.
t9
     JetBlue specifically objects to the definition of AS7 as being a JetBlue flight. AS7 was the flight
20
     Plaintiff originally booked with Alaska Airlines but apparently missed when he was delayed
2I   during his travels. The JetBlue flight was Flight 8263.

22

¿)    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                            LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                           Mrlm    MEYERS SwARTLTNc P.S.
24    CORPORATION IND DEFENDANT JETBLUE AIRI4/AYS                                         1000 SscoNo AvENue, 30rH Fr,oon
      C O R P O RA TI O N'S F I RS T S U P P L E M E NTA L R¿'SPONSE,S TH E R ETO        Snnrrre, WASHTNGToN 98104- I 064
                                                                                              TELEPHONE (206) 382-l 000
      (NO. 2: 18-cv-015 10-RSM) - I
25                                                                                            FACS rMr LE (206) 386 -7 3 43



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 3 of 59



 1
             JetBlue is prohibited from releasing any information or documents designated by the
2    Transportation Security Administration as Sensitive Security Information ("SSI") pursuant to 49

-)   U.S.C. $ 114(r) (formerly (s)) (2009);49 C.F.R. $ 1520.5; Chowdhuryv. Northwest Airlines,226

4    F.R.D. 608 (N.D. CaL2004). SSI shall not be disclosed to persons without a "need to know," as

5
     defined in 49 CFR parts 15 and 1520, except with the written permission of the Administrator                        of
     the Transportation Security Administration or the Secretary of Transportation. Unauthorized
6
     release may result in    civil penalty or other action.       See, e.g.,   Chowdhury,226F.R.D. at 610-15
7
     (N.D. CaL 2004) ("The regulations do not include a 'civil litigant' or 'his attorney' as a person
8
     with a 'need to know."'). In addition, certain interrogatories and requests for production of
9    documents may seek confidential, commercial and financial information that is exempt from

10   disclosures pursuant to 49 C.F.R. ç 7 .17 .

1t           JetBlue objects to any request to produce a privilege log for documents created after the

     filing of the original complaint in this matter, including those documents created by JetBlue's
12
     counsel   of   record, JetBlue's in-house counsel/risk management department, or JetBlue's
13
     insurance adjusters. Responsive documents containing Sensitive Security Information and other
14
     privileged or non-disclosable matters will be identified in JetBlue's privilege log.
15
             Finally, to the extent JetBlue has objected to discovery requests below, JetBlue requests
t6   a conference of counsel pursuant to FRCP 26(b)(2)(C) so that JetBlue can determine                             if   an

t7   agreement can be reached regarding the scope of discovery or                 if a motion for protective        order

18
     should be filed.


l9

20

21


22

ZJ   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                     LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                        MILLS MEYERS SWARTLING P.S.
24   CORPORATION IND DEFENDANT JETBLUE AIRWAYS                                       IOOO SpcoNn AVENUE, 3OTH FLooR

     C O RP O RA TI O N'S FI RST S U P P L E M ENTA L RESP ON S ES TH E RETO
                                                                                     Sserrle, WRSsrNcroN 98104-1064
                                                                                        TELE PHON E (206) 382 - | 000
     (NO. 2: l8-cv-015 1O-RSM) - 2
25                                                                                      FACS rMrLE (206) 386-7 343



26
            Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 4 of 59



 I                                             INTERROGATORIES

 2            INTERROGATORY NO.                1:         Identify every person who has any knowledge or

 J   information pertaining to the facts and occuffences that are the subject of this lawsuit, the claims

 4   and defenses in the case, or with regard to the matters asserted in Plaintiffs' Complaint or

 5   Defendant's Answer thereto. For each person identified, state the following:

 6            (a) Set forth their name, address and most recent known contact information including
                  home and work phone numbers and home and work email addresses;
 7            (b) If the person is your employee, state that employee's job title or titles in 2018; and
              (c) Describe in detail the knowledge or information possessed by the person.
 8
     ANSWER:
 9
             Upon information and belief, JetBlue discloses the following JetBlue employees who can
10   be contacted through counsel:

11           Cindy Pancerman
             Mary Ann Salvador
12           Lamont Wilkinson
             Mitchell Ouillette, Captain
l3           Michael Cheney, First Officer

t4           JetBlue's employees are anticipated to possess knowledge regarding the allegations and
     claims asserted against it in Plaintiff s Complaint, JetBlue's defenses to Plaintiff s allegations
15   and claims, JetBlue's operations, policies, and practices and circumstances relating to the subject
     incident. JetBlue is investigating and will supplement this response as it identifies additional
T6   employees or former employees who may have knowledge of matters related to the subject
     incident.
I7
             By way of further response,       see the   parties' Initial Disclosures and documents produced
18   with these responses.

l9           REQUEST FOR PRODUCTION NO.                       1:   Please produce any and     all documents

20   related to your answer to the proceeding interrogatory.

21   RESPONSE:

22           See the parties'   Initial Disclosures and supplemental disclosures with these responses.

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                    LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                   MILLS MEYERS SwnnTI-INc P.S.
24    CORPORATION IllD DEFENDANT JETBLUE AIRWAYS                                 I   000 S¡coNn AvsNus, 3OrH Fr-oon
      C O R P O RATI ON'S FI RST S UP P L E M ENTA L RESP ON S ES TH ERETO       Srerrle,   WASHtNcToN 98 I 04- 1064
                                                                                        TELEPHONE (206) 382-t 000
      (NO. 2: 1 8-cv-01 5 10-RSM) - 3
25                                                                                      FACS rMr LE (206) 386 -7 3 43



26
            Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 5 of 59



 1            REQUEST FOR PRODUCTION NO.                          2:   Please produce the personnel    file for each

 2   employee identified in the prior interrogatory.

 a
 J   RESPONSE:

 4           Objection. This request is overly broad, unduly burdensome, and seeks information that
     is not pertinent to the issues, disproporlionate to the needs of the case and the importance of the
 5   requested matters to the litigation, see FRCP 26(bXl), and unnecessarily invades the reasonable
     privacy interests of JetBlue's employees. By way of example, this request purports to seek
 6   personal and confidential information related to employees' compensation, payroll data, benefits,
     retirement benefits, insurance, dependents, and other sensitive employment information that has
 7
     no relation or relevance to Plaintiffls claims.

 8            INTERROGATORY NO. 2:                            Please identify and describe any instance in       which

 9   a passenger has complained          or sent you a complaint since January 1,2014.

10   ANSWER:

l1            Objection. This intenogatory is overly broad, unduly burdensome, and expensive, taking
     into accottnt the needs of the case, the amount in controversy, the importance of the issues at
t2   stake in the litigation, and the importance of the proposed discovery in resolving the issues
     because it is not reasonably limited in terms of time, geographic scope, or subject matter. See
I3   FRCP 26(bX1). The interrogatory is overly broad and unduly burdensome to the extent it seeks
     the identification of "any instance" in which any passenger "complained" about any matter. This
t4   could include an inconceivable number of incidents. To illustrate, with respect to subject matter,
     this interrogatory is improper because it is not reasonably limited to alleged discrimination-based
15   complaints, nor is it limited to complaints regarding passengers removed from flights by law
     enforcement. As such, this intemogatory is not reasonably limited in terms of time or subject
l6   matter and is not reasonably calculated to lead to the discovery of admissible evidence. By way
     of further objection, JetBlue objects to the request that it provide information for the past five
I7   years as unreasonable, unduly burdensome, and overly broad. Finally, JetBlue objects to the
     request that it provide information on other complaints as seeking irrelevant information.
18
           Notwithstanding and without waiving any objection, interpreting this request as seeking
t9   complaints related to the Subject Flight, see JB 000080 - JB 000081.

20   SUPPLEMENTAL ANSWER:

2l            Notwithstanding and without waiving any objections and as agreed between the
     parties in the March 27 12019 discovery conference, the scope of this interrogatory is limited
22   to litigated claims related to discrimination. JetBlue conducted a duly diligent search for

ZJ    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                     LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                       Mrr,ls MEYBRS S\ryARTLING P.S.
24    CORPORATION I¡lD DEFENDANT JETBLUE AIRWAYS                                     1000 SEcoNo Av¡Nup, 30rs Floon
      C O R P O RATI ON'S F I RST S U P P L E M EN TA L RESP ONS ES TH E R E,TO      Searrre, WasurxcroN 98104-1064
                                                                                        TELEPHONE (206) 382-l 000
      (NO. 2: I 8-cv-01 5 lO-RSM) - 4
25                                                                                      FACSTMI LE (20 6) 386-7 3 43



26
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 6 of 59



 1   litigated claims involving allegations of discrimination since 2014. After receiving a lawsuit,
     JetBlue's insurer assigns it a code and enters a S-word description of the claim in its
 2   database. JetBlue identified fïve lawsuits initiated since 2014 by searching for all codes and
     descriptions that included the word "discrimination." JetBlue produces documents related
 J   to these lawsuits as JB 000133-000381

4                             version of customer complaint initially produced subject to the
               See also redacted
     Protective Order as JB 000080-JB 000081, now produced as JB 000412-000413.
 5
               REQUEST FOR PRODUCTION                         NO.3:      Please produce any and     all documents
 6
     related to your answer to the proceeding interrogatory.
7
     RESPONSE:
 8
               See objection and response to Interrogatory No. 2.
9
     SUPPLEMENTAL RESPONSE:
10
               ,See   objection and supplemental answer to Interrogatory No. 2.
11
               REQUEST FOR PRODIICTION NO.                          4:   For each investigation, please proclnce any
t2
     and   all documents that          are related to the investigation.
13
     RESPONSE:
I4
             Objection. This request is vague and confusing because it is unclear what is intended by
     o'each
15          investigation." By way of further objection, to the extent this Request seeks documents
     related to JetBlue's investigation of the subject incident conducted in anticipation of litigation,
t6   JetBlue further objects that any such documents would be protected by the attorney-client
     privilege or work product doctrine.
I7
            Notwithstanding and without waiving any objection, see previously produced Incident
18   Reports UB 000001 - JB 0000101 and supplemental production of Incident Reports with these
     responses UB 000072 - JB 0000791.
t9
     SUPPLEMENTAL RESPONSE:
20
               ,See   objection and supplemental answer to Interrogatory No. 2.
21


22

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                        LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                          MILLS MEYERS SWARTLING P.S.
24   CORPORATION          IllD   DEFEN DANT J ETBLU E A]RWAYS                           l 000 S¡co¡ro AvpNua, 30rH Floon

     C O RP O RA TI O              S U P P L E M E N TA L R¿SPOI\/,S¿S TH E R ETO
                        N'S F I RS T                                                    Sparrle, WessrNcroN 98104-1064
                                                                                            TELEPHONE (206) 382-l 000
      (NO. 2: l8-cv-01510-RSM) -         5
25                                                                                          FACS rMrLE (20 6) 386 -7 3 43



26
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 7 of 59



 1             REQUEST FOR PRODUCTION NO.                   5:   Please produce all emails related to each

2    investigation.

î
J    RESPONSE:

4              See objection to Request for Production 4

5            Notwithstanding and without waiving any objections, JetBlue searched for and did not
     locate emails in the JetBlue email accounts of the subject flight's crew members that related to
6    flight 8263. Note that, in the ordinary course of business and consistent with JetBlue's e-mail
     deletion policy, all emails are deleted after 90 days unless archived.
7
               INTERROGATORY                NO.3:       For each complaint stated above, please identify
8
     each investigation, whether internal and external, into each complaint. For each investigation,
9
     state:
10
               (a) A summary of the complaint;
11             (b) The name, address, telephone number and email address of the person making the
                   complaint;
t2             (c) The date of the complaint;
               (d) The identity of the persons or entities conducting the investigation;
I3             (e) Findings and conclusions of each investigation;
               (f) Whether the findings and conclusions were written;
14             (g) Actions taken by you as a result of each investigation.

t5   ANSWER:

I6             See objection and response to Interrogatory No. 2

t7   SUPPLEMENTAL ANSIJVER:

18             ,Søe   objection and supplemental answer to Interrogatory No. 2.

I9             REQUEST FOR PRODUCTION NO. 6: Please produce any and all documents

20   related to your answer to the proceeding interrogatory

2I   RESPONSE:

22             ,See   objection and response to Interrogatory No. 2

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                  MILLS MEYERS SWARTLING P.S.
                                                                                1 000 SBcoNp Av¡Nur, 3Ors FlooR
24    CORPORATION           IND DEFENDANT JETBLUE AIRI4/AYS
      C O R P O RA              UP P L E M E NTA L R¿SPON,Sð^S TH E RETO
                     TI O N'S F I RST   S
                                                                                SEerrle, WASHTNGToN 98 I 04- 1064
                                                                                    TELEPHONE (206) 382-1 000
      (NO. 2: 1 8-cv-015 1O-RSM) - 6
25                                                                                   FACSTMTLE (206) 386-7343



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 8 of 59



 1   SUPPLEMENTAL RESPONSE:

2           See   objection and supplemental answer to Interrogatory No. 2.

J            INTERROGATORY NO. 4: Please identify the flight crew.

4    ANSIilER:

5           Cindy Pancerman
            Mary Ann Salvador
6           Lamont Wilkinson
            Mitchell Ouillette, Captain
7           Michael Cheney, First Officer

8           REQUEST FOR PRODUCTION NO. 7: Please produce the personnel file for each

9    member of the flight crew.

10   RESPONSE:

11           Objection. This request is overly broad, unduly burdensome, and seeks information that
     is not pertinent to the issues, disproportionate to the needs of the case and the importance of the
12   requested matters to the litigation, se¿ FRCP 26(bX1), and unnecessarily invades the reasonable
     privacy interests of JetBlue's employees. By way of example, this request purports to seek
I3   personal and confidential information related to employees' compensation, payroll data, benefits,
     retirement benefits, insurance, dependents, and other sensitive employment information that has
14
     no relation or relevance to Plaintiffls claims.

15          REQUEST FOR PRODUCTION NO. 8: Please produce all emails from or to any

I6   member of the flight crew that relate to Flight AS7.

T7   RESPONSE:

18           Objection. JetBlue objects to the extent this request seeks information or documents
     protected by the attorney-client privilege andlor the work product doctrine. By way of further
t9   objection, the subject flight was JetBlue Flight 8263.

20            Notwithstanding and without waiving any objections, JetBlue searched for and did not
     locate any emails from or to flight crew members on flight 8263 thatrelated to flight B263. Note
2I   that, in the ordinary course of business and consistent with JetBlue's e-mail deletion policy, all
     emails are deleted after 90 days unless archived.
22

ZJ    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                          LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                            MILLS MEYERS SWARTLING P.S.
24    CORPORATION I¡lD DEFENDANT JETBLUE AIRWAYS                          1000 SECoND AveNuB, 30rs Floon
      CORPORATION'S FIRST SUPPLEMENTAL RESPONSES TH ERETO                 SeerrLE, WASHTNcToN 981 04-1064
                                                                              TELEPHONE (206) 382-l 000
      (NO. 2: I 8-cv-01 5 lO-RSM) - 7
25                                                                             FACSTMT LE (206) 386-7 343



26
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 9 of 59



 1             REQUEST FOR PRODUCTION NO. 9: Please produce all text messages from or to

2    any member of the flight crew that relate to Flight AS7.

a
.J   RESPONSE:

4            Objection. To the extent this Request seeks text messages exchanged in the course of or
     in anticipation of litigation as any such text   messages are protected by the attorney-client
5    privilege and work product doctrine. JetBlue objects to this interrogatory to the extent it seeks
     information in the custody or control of third parties. By way of further objection, the subject
6    flight was designated as JetBlue Flight 8263.

7           Notwithstanding and without waiving any objections, JetBlue does not provide company
     issued phones and does not have access to the flight crew's private phones or text messages.
8
               REQUEST FOR PRODUCTION NO. 10: Please produce all documents related to the
9
     training received by JetBlue employees on or relating to race or national origin discrimination.
10
     RESPONSE:
11
             Objection. This request for production is overly broad and unduly burdensome, taking
12   into account the needs of the case and the importance of the issues at stake in the litigation, See
     FRCP 26(bX1). By way of example, requests for policies or training not in effect at the time of
13   the subject incident are not reasonably calculated to lead to the discovery of admissible evidence.

I4           JetBlue will search for and produce documentation related to policies of inclusivity and
     diversity. By way of initial response, see JB 000095 and FAM Section 2.7.1, produced subject
15   to the protective order as JB 000096.

l6   SUPPLEMENTAL RESPONSE:

T7             Notwithstanding and without waiving any objections,                      see   JB 000382-000411.

t8             INTERROGATORY NO. 5: Please identify all investigations, both internal and

t9   external into the actions of the flight crew on Flight AS7. For each investigation, state:

20             (a) A summary of the complaint you had investigated;
               (b) The identity of the persons or entities conducting the investigation;
2l             (c) Findings and conclusions of each investigation;
               (d) Whether the findings and conclusions were written;
22             (e) Actions taken by you as a result of each investigation.

ZJ    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                             LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                            MILLS MEYERS S\ryARTLING P.S.
24   CORPORATION           IllD    DEFENDANT JETBLUE AIRWAYS                              I   000 SscoNp AvENUE, 30ru   Floon
     C O RP   O RA TI O N'S F I R,S T S UP P L E M E N TA L Rð,SPOI\/,S¿,S TH E R ETO
                                                                                          S¡arrlr,  WASHTNGToN 98 104- I 064
                                                                                                TELEPHONE (206) 382-l 000
      (NO. 2: I 8-cv-01 5 l0-RSM) -     8
25                                                                                              FACS r M r LE (20 6) 386-7 3 43



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 10 of 59



 1   ANSWER:

 2           Objection. JetBlue objects to the extent this request seeks information or documents
     protected by the attorney-client privilege and/or the work product doctrine. By way of further
 J   objection, the subject flight was designated as JetBlue Flight 8263.

 4           Notwithstanding and without waving any objections, see previously produced Incident
     Reports IJB 000001 - JB 000010] and supplemental production of same removing certain
 5   redactions IJB 000070 - JB 000079].

 6            REQUEST FOR PRODUCTION NO. 11: Please produce any and all documents

 7   related to your answer to the proceeding interrogatory.

 8   RESPONSE:

 9            See response to Interrogatory                 No.   5.

10            INTERROGATORY NO. 6: Please state your gross and net profits from January                                  1,


11   2010 to the present.

12   ANSWER:

l3           Objection. This request is overly broad, unduly burdensome, and seeks irrelevant
     information because it seeks financial information from 2010. JetBlue further objects to the
T4   extent responsive information may be obtained by Plaintiff though public court records or other
     means by which Plaintiff has equal access.
15
             Notwithstanding and without waving any objections, JetBlue directs Plaintiff to the
t6   publicly-available financial information available via :

t7           https://www.nasdaq.comlsyrnbol/jblu/financials?querv:income-statement

18   SUPPLEMENTAL ANS\ilER:

t9           Notwithstanding and without waiving any objections, see
     http://blueir.investproductions.com/investor-relations/financial-information/sec-filings.
20

2l

22

23   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                            LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                            MILLS MEYERS SWARTLING P.S.
24   CORPORATION           I¡lD   DEFENDANT JETBLUE AIRWAYS                              1000 SrcoNo AvENUE,     30ru Floon
     C O R P O RA   TI O N'S F I RS T   S   UP P L E M E N TA L RESPOA/^SãS TH E RETO   Seerrl¡,   WASHTNcToN 98104-1064
                                                                                            TELEPHONE (206) 382-1 000
      (NO. 2: 1 8-cv-01510-RSM) - 9
25                                                                                           FACS rM I LE (206) 386-7 3 43



26
          Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 11 of 59



 I           REQUEST FOR PRODUCTION NO. 12: Please produce any and all documents

 2   related to your answer to the proceeding interrogatory.

 J   RESPONSE:

 4           See objection and response to Interrogatory No. 6.

 5           INTERROGATORY NO. 7: Please identify every complaint against Cindy

 6   Pancerman in the last ten years. As to each:

 7           (a) State the nature of the alleged complaint;
             (b) State the date(s) of the alleged mistreatment;
 8           (c) Identify all documents related to the alleged mistreatment;
             (d) Identify all documents that relate to your response to the alleged mistreatment;
9
     ANSWER:
10
             Objection. This request is overly broad taking into account the needs of the case, the
11   amount in controversy, the importance of the issues at stake in the litigation, and the importance
     of the proposed discovery in resolving the issues becausc it is not rcasonably limitcd in terms of
I2   time, geographic scope, or subject matter. ,See FRCP 26(bX1). To illustrate, with respect to
     subject matter, this request is improper because it is not reasonably limited to discrimination-
13   related allegations, nor is it limited to actions between passengers and Ms. Pancerman. The
     request is vague in that it does not define what kind of complaint so as to be subject to multiple
l4   interpretations. In addition, JetBlue objects to the request that it provide information for the past
     ten years as uffeasonable, unduly burdensome, and overly broad. Finally, JetBlue objects to the
15   request that it provide information on other complaints as seeking irrelevant and private
     information regarding other customers.
l6
             Subject to and without waiving any objections, JetBlue will search for and produce any
t7   documented customer complaints involving crew member Cindy Pancerman in the three years
     prior to the subject flight. Any such material will be produced subject to protective order.
18
     SUPPLEMENTAL ANSWER:
I9
             Notwithstanding and without waiving any objectionso in the ordinary course of
20   business and consistent     with JetBlue's document retention policy and 14 CßR 249.20,
     customer complaints are deleted after 3 years. By way of further response, JetBlue
2t   produces the following complaints regarding crewmember Cindy Pancerman and
     corresponding incident reportso if any, since 2016. JetBlue is still working to produce these
22   r:ecords in their original format. JB 000414-000419.

23
      PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                            LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                               MILLS MEYERS SWARTLING P.S.
24   CORPORATION        IND DEFENDANT JETBLUE AIRWAYS                        1000 SpcoNo   AveNu¡, 30rs Floon
     C O RP O RATI O           S UP P L E M ENTA L RESP O NS ES TH E RETO
                       N'S F I RST                                          Sgarrlr, WesurNcrox 98104-1064
                                                                                TELEPHONE (206) 382-l 000
      (NO. 2: 1 8-cv-015 lO-RSM) - l0
25                                                                              FACStMTLE (206) 386-73 43


26
          Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 12 of 59



             REQUEST FOR PRODUCTION NO. 13: Please produce any and all documents

 2   related to your answer to the proceeding interrogatory.

 J   RESPONSE:

 4           See objection and response to Interrogatory No. 7.

 5   SUPPLEMENTAL RESPONSE:

 6           See objection and supplemental answer to                Interrogatory No. 7.

 7           INTERROGATORY NO. 8: Please identify every passenger on Flight AS7.

 8   ANSWER:

 9           Objection. This request is overly broad, unduly burdensome, and an uffeasonable
     invasion into the privacy interests of passengers, particular of passengers not in a position to
10   observe the interactions at issue in this litigation. See FRCP 26(bxl). By way of further
     objection, airline passengers have a federally-recognized expectation of privacy. 14 C.F.R. ç 243.
ll   JetBlue also notes that the subject flight was designated as JetBlue Flight 8.263.

12           Notwithstanding and without waiving any objections JetBlue produces, subject to the
     protective order, available contact information for passengers assigned to seats A-F in rows 1-3
13   as well as the passengers mentioned in the Incident Reports related to the subject flight. [JB
     0000821.
t4
             REQUEST FOR PRODUCTION NO. 14: Please produce any and all documents
15
     related to your answer to the proceeding interrogatory.
l6
     RESPONSE:
17
            ,See objection and response to Interrogatory No. 8. By way of further objection, it is
18   unclear what "documents" are sought. JetBlue objects to the production of Passenger Name
     Records of other passengers as such documents contain private and confidential information.
T9


20

21


22

z)   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                    LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                     MILLS MEYERS     SWARTLING P.S.
24   CORPORATION       IN'     DEFENDANT JETBLUE AIRWAYS                          I 000 SscoNp AvEwU¡, 30rs Floon

     C O R P O RATI O N'S F I RST S U P P L E M ENTA L RESP ON S ES TH ERETO      Searrrr, WasHrNcroN 98 I 04 - 1064
                                                                                      TELEPHONE (206) 382-t 000
     (NO. 2:18-cv-015 l0-RSM) - I I
25                                                                                    FACSTMTLE (206) 386-7 343



26
            Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 13 of 59



 I           REQUEST FOR PRODUCTION NO. 15: Please produce a seating chart for Flight

 2   AS7.

 J   RESPONSE:

 4           See objection and response to Interrogatory   No.   8.

 5           REQUEST FOR PRODUCTION NO. 16: Please produce                 a diagram showing the seat

 6   layout of Flight AS7.

 7   RESPONSE:

 8           Objection. The subject flight was designated as JetBlue Flight 8263.

9           Notwithstanding and without waiving any objection, see the attached reflecting a seat
     diagram for the subject aircraft IJB 000083 - JB 000084].
10
             INTERROGATORY NO. 9: On the date of his removal, please state every reason for
11
     removing Mr. Karrani from Flight AS7. For each rcason, plcasc state:
l2
             (a)  The identity of the person who formulated this reason, and whether the reason was
13               recorded or was made in writing on the date that Mr. Karrani was removed from
                 Flight AS7;
I4           (b) If the reason was stated verbally or in writing to a member of the flight crew, state
                 who stated the reason, and who was told or otherwise informed of the reason;
15           (c) If the reason was recorded or was made in writing at alater date, please state the
                 date and identify who made the document recording the reason;
t6           (d) The Identity of each person who participated in formulating the reason;
             (e) Identify the person or persons who made, or participated, in the decision to remove
I7               Mr. Karrani from FlightAST.

18   ANSWER:

I9           Objection. The subject flight was designated as JetBlue Flight 8263

20          Notwithstanding and without waiving any objections,see the information contained in
     previously produced Incident Reports IJB 000001 - JB 000010] and supplemental production of
2l   same removing cerlain redactions IJB 000072 - JB 000079]. Further information is available via
     deposition of the involved flight crew members.
22

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                          LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                            MILLS MEYERS SWARTLING P.S.
24    CORPORATION IllD DEFENDANT JETBLUE AIRWAYS                          1000 SpcoNo AveNua, 30ru Floon
      CORP ORATION'S FI RST SUP P L E M ENTAL RE,SPOA/,SðS TH ERETO       Searrle, WRsr¡lNcroN 98104-1064
                                                                              TELEPHONE (206) 382- I 000
      (NO. 2: 1 8-cv-01 5 1O-RSM) - l2
25                                                                            FACSTMT LE (206) 386-73 43



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 14 of 59



 I            REQUEST FOR PRODUCTION NO. 17: Please produce any and all documents

 2   related to your answer to the proceeding interrogatory.

 a
 J   RESPONSE:

 4            See objection and response to Interrogatory No. 9.

 5            INTERROGÄTORY NO.                  10:         Please identify all passengers on    FlightAST. For

 6   each please state:

 7            (a)   Their first and last name;
              (b)   Most recent known address;
 I            (c)   Last know phone number;
              (d)   The seat number occupied by the passenger.
 9
     ANSWER:
10
              See objection and response to Interrogatory No. 8.
11
              REQUEST FOR PRODUCTION NO. 18: Please produce any and all documents
I2
     related to your answer to the proceeding interrogatory.
13
     RESPONSE:
14
              See objection and response to Interrogatory            No. 8 and Request for Production No.       14
15
            INTERROGATORY NO.                    11:
                                                   Please state every reason for JetBlue's refusal to
I6   reimburse Mr. Kamani for the cost of the following flights which he took on January 2I,2018:

17            (a) Delta Flight No. 1698 from Billings, Montana to Salt Lake City, Utah.
              (b) Delta Flight No. 827 from Salt Lake City, Utah to Seattle, Washington.
18
     ANSWER:
l9
              Objection. JetBlue objects to this Interrogatory as argumentative and misleading in that
20   itassumes   Plaintiff made a request to JetBlue to be reimbursed and that JetBlue denied such
     request.
2t

22

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                       LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                      MILLS MEYERS SWARTLING P.S.
24    CORPORATION I¡lD DEFENDANT JETBLUE AIRWAYS                                    I OOO   SecoNo AVENUE, 3OTH FLooR
      C O R P O RA TI O N'S F I RS T S U P P L E ME NTA L RåSPON,S¿S TH E RETO      Srnrrle, WASHTNGToN 98104-1064
                                                                                        TELEPHONE (206) 382-l 000
      (NO. 2: 1 8-cv-01 5 lO-RSM) - l3
25                                                                                       FACSTMTLE (20 6) 386-7 343



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 15 of 59



 1             Notwithstanding and without waiving any objections, JetBlue responds that it has no
      record of Plaintiff requesting reimbursement for the Delta Flights. As such, JetBlue denies any
 2    relqsal.

 a
 -)   SUPPLEMENTAL ANS\ilER:

 4            Notwithstanding and without waiving any objections, JetBlue responds that Mr.
      Karrani spoke with Airport Operations Supervisor, Clathyn Witliamso sometime after the
 5    flight regarding a request for reimbursement. Mr. Williams directed Mr. Karrani to email
      JetBlue's Customer Commitment team regarding this request. JetBlue has no record of
 6    receiving such an email.

 7            REQUEST FOR PRODUCTION NO. 19: Please produce any and all documents

 8    related to your answer to the proceeding interuogatory.

 9    RESPONSE:

10            ,See   objection and response to Interrogatory No.   11


11           INTERROGATORY NO. 12: For each request for production, please identify each
      document that is responsive to each request. If you use Bates stamps, please provide the Bates-
12    stamp number of each document, which is intended to be responsive to the request for
      production.
13
      ANSWER:
t4
              JetBlue's document productions in this matter are bates labeled.
15
              INTERROGATORY NO. 13:                   IdentiS'the person or persons answering these
t6    interrogatories including anyone who contributed information used in answering these
      interrogatories. If more than one individual provided the answers or contributed any information
T7    used in answering these intenogatories, identify the specific interrogatory answered by each
      person and the information provided.
18
      ANSWER:
I9
              Objection. JetBlue objects to the extent this intenogatory seeks information protected by
20    the attorney-client privilege andlor the work product doctrine.

2l            Notwithstanding and without waiving any objections, the information responsive to these
      requests was identified and collected by authorized JetBlue personnel at the direction of counsel.
22

23     PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                             LAW OFFICES OF
       PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                            MrLLs MEvBRS SwARTLTNc P.S.
24     CORPORATION IND DEFENDANT JETBLUE AIRWAYS                           1000 SecoNo   Av¡Nu¡, 30rs Floon
       CORP O RATION'S FI RST SU P P LEMENTA L R¿,SPOI/SES TH ERETO        Srarrlr,WASHTNGToN 98 104-1064
                                                                               TELEPHONE (206) 382-l 000
       (NO. 2:18-cv-0151O-RSM) - l4
25                                                                             FACS rMr LE (206) 386-7 3 43



26
          Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 16 of 59



 1           REQUEST FOR PRODUCTION NO.20: Please produce all documents related to the
     rules, policies or procedures in effect at JetBlue regarding medical emergencies on a flight.
 2
     RESPONSE
 a
 J
            Objection. This request for production is overly broad and unduly burdensome, taking
 4   into account the needs of the case and the importance of the issues at stake in the litigation.
     Requests for policies not in effect at the time of the subject incident are not reasonably calculated
 5   to lead to the discovery of admissible evidence.

 6           Notwithstanding and without waving any objections, JetBlue produces, subject to the
     protective order, Flight Attendant Manual Sections I1.3, 11.4,lL 5, and 11.14 IJB 000085 - JB
 7   0000941.

 8           REQUEST FOR PRODUCTION NO.21: Please produce all documents related to the
     training received by JetBlue employees on or relating to cultural sensitivity.
 9
     RESPONSE:
10
             See objections and response to Request for Production            No.   10.
1l
     SUPPLEMENTAL RESPONSE:
I2
             ,See   objection and supplemental response to Request for Production No. 10.
t3
             REQUEST FOR PRODUCTION NO.22: Please produce all documents related to the
t4   training received by JetBlue employees on or relating to race or national origin discrimination.

15   RESPONSE:

l6           See objections and response to Request for Production            No.   10.

17   SUPPLEMENTAL Rß,SPONSE:

18          See objection and supplemental response to Request                 for Production No. 10.

t9           REQUEST FOR PRODUCTION NO.23: Please produce all documents related to the
     training received by JetBlue employees on or relating to implicit bias.
20
     RESPONSE:
21
            Objection. This request for production is overly broad and unduly burdensome, taking
22   into account the needs of the case and the importance of the issues at stake in the litigation.

23   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                        LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                        MILLS MEYERS SWARTLING P.S.
24   CORPORATION       IN'    DEFENDANT JETBLUE AIRWAYS                              I   000 SpcoNo Avexua, 30rH   Floon
     CO RP O RA TI O N'S F I RST SU P P LE M EN TA L RESP O NS ES TH E RETO         Sparrl¡,   WASHTNGTON 98 104- I 064
                                                                                           TELEPHONE (206) 382-l 000
     (NO. 2: I 8-cv-015 1O-RSM) - 15
25                                                                                         FACSTMTLE (206) 386-7 343



26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 17 of 59



  1   Requests for policies not in effect at the time of the subject incident are not reasonably calculated
      to lead to the discovery of admissible evidence. See FRCP 26(bxl). JetBlue further objects to
 2    this request as seeking irrelevant information that is disproportionate to the needs of the case and
      the importance of the requested matters to the litigation. For example, implicit bias is not an
 J    element of Plaintiff s discrimination claim.

 4            See response to Request   for Production No. 10

 5    SUPPLEMENTAL RESPONSE:

 6            See objection and supplemental response to Request         for Production No. 10.

 7            REQUEST FOR PRODUCTION NO.24: For each year since January z\l3,please
      produce all documents related to the rules, policies, procedures, contract provisions, federal or
 8    state regulations or laws in effect at JetBlue or governing JetBlue's actions for the removal of a
      passenger from a flight before, during, or after the flight.
 9
      RESPONSE:
10
                 Objection. This request for production is overly broad and unduly burdensome, taking
11    into account the needs of the case and the importance of the issues at stake in the litigation. For
      example, ancl without limitation, requests for policies not in effect at the time of the subject
t2    incident are not reasonably calculated to lead to the discovery of admissible evidence. JetBlue
      further objects to the extent the information sought in this discovery request is equally available
13    to the propounding party. In addition, JetBlue objects as this request seeks information
      determined by the Transportation Security Administration ("TSA") to be "sensitive Security
14    Information," ("SSI") which is prohibited from disclosure in discovery unless the circumstances
      outlined Section 525(d) of the of the Department of Homeland Security Appropriations Act of
15    2007, Pub. L. No. 109-295, 120 Stat. 1355, 1382 (Oct. 4,2006), are met. See 49 C.F.R. $ 1520
      et seq.; Ibrahim v. Department of Homeland Security,669 F.3d 983, 998 (9th Cfu.2012); see also
I6    h.tllrs://rrywrv.dhs.gov/publiçation/sensitive-securit),-iniiormation.use-litjgation.

I7            Notwithstanding and without waving any objections, see JetBlue's previously produced
      Contract of Carriage IJB 000014 - JB 000067]. The pertinent federal regulations responsive to
18    this request include but may not be limited to:49 U.S.C. $ a4902;14 C.F.R. $ 91.11; 14 C.F.R.
      $ 121.580; and 14 C.F.R. $ 121.533. Additionally, JetBlue's Flight Attendant Manual contains
I9    information relevant to this request; however, these manual excerpts are designated as Sensitive
      Security Information and JetBlue is prohibited by federal law from producing these materials.
20    See 49 C.F.R. $ 1520 et seq.

2I

22

z-)
      PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                            LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                              MILLS MEYERS Sw¡RTIINc P.S.
24    CORPORATION I¡lD D E F EN D A N T J ET B L UE A I R I,I/A YS          1000 Srcom AvsNuE, 30rs FlooR
      CO RP ORATI ON'S F I RST SU P P LEMENTA L RðSPO¡I/S'S TH ERETO        Srarrr-E, Was¡llNcroN 98104-1064
                                                                                TELEPHONE (206) 382-1 000
       (NO. 2: 18-cv-015 l0-RSM) - l6
25                                                                              FACSIMTLE (20 6) 386-73 43


26
        Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 18 of 59



 1                              ATTORNEY'S CERTIFICATION

 2         I certify that the foregoing responses comply with FRCP 26.

 J         DATED Aprill2,20I9.

 4                                               MILLS MEYERS SV/ARTLING P.S.
                                                 Attorneys for Defendant JetBlue Airways
 5                                               Corporation

 6
                                                 By:
 7                                                     Caryn
                                                       WSBANo.27514
 8                                                     John Fetters
                                                       V/SBA No. 40800
                                                       Samantha Pitsch
 9                                                     V/SBA No. 54190

10

l1

I2

l3

14

15


t6

t7

l8

T9


20

2t

22

23   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                         LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                          Mrr-r,s MEYERS      Sw¡nrlwc       P.S.
24   CORPORATION I¡lD DEFENDANT JETBLUE AIRWAYS                          1000 SscoNo   Av¡Nu¡, 30rlr Floon
     CORPORATION'S FIRST SUPPLEMENTAL RESPONSES THERETO               SpRrrLs, WAsul¡¡croN 98104-1064
                                                                            TELEPHONE (206) 382-l 000
     (NO. 2: l8-cv-015 l0-RSM) - l7
25                                                                          FACSTMILE (20 6) 386-73 43


26
          Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 19 of 59



 I                                              VERIFICATION

 2             Under penalty of perjury under the laws of the United States,            I make the following
 J   declaration: I am                                           for JetBlue Airways Corporation, and I am

 4   an authorized agent for the pu{poses     ofverifying   these responses on its   behalf.    These responses

 5   are not   within my personal knowledge, but rather have been drafted and assembled by counsel

 6   based on information supplied by authorized employees, and JetBlue Airways Corporation

 7   believes the responses are true and correct.

 I             DATED                            20t9

 9
                                                       JETBLUE AIRWAYS CORPORATION
10


11


t2
                                                       Michael Carbone
I3

t4

15


t6

I7

18


I9

20

2I

22

23   PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                                  LAW OFFICES OF
     PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                 MILLS MEYERS S\ryARTLING P.S.
24   CORPORATION IÌlD DEFENDANT JETBLUE AIRWAYS                               1000 Spcor.ro Av¡Nus, 30rs Floon
     C O RP O RATI ON'S FI RST S U P P L E MENTA L RESP ONS ES TH ERETO       Selrrle, WasHmcroN       98104-1064
                                                                                     TELEPHONE (206) 382-l 000
     (NO. 2: l8-cv-015 l0-RSM) - I 8
25                                                                                   FACSTMTLE (206) 386-7343


26
           Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 20 of 59



 1                                                CERTIFICATE OF SERVICE

 2             The undersigned certifies under penalty of perjury under the laws of the State of

 a    Washington that on this date I caused to be served in the manner indicated a copy of the within
 J

      and foregoing document upon the following persons:
 4

 5     At t o r ney s fo   r   P I ai nt   iff:                   tr   Via first class mail, postage prepaid
                                                                  tr   Via facsimile to
 6      John P Sheridan                                           E Yu legal messenger
        Mark W. Rose                                              VYia e-mail:
 7      Sheridan Law Firm, P.S.                                        j ack@sheridanlawfi rm.
                                                                                             com
        705 Second Avenue, Suite 1200                                  mark@sheridanlawfirm. com
 I      Seattle, V/A 98104                                             colton@sheridanlawfinn. com
                                                                       alea@sheridanlawfirm. com
 9
              DATED April12,2019
l0

ll
t2
                                                                        Wheeler
13


I4

15


I6

I7

.18


t9

20

2I

22

23    PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR                              LAW OFFICES OF
      PRODUCTION TO DEFENDANT JETBLUE AIRWAYS                                MILS    MEYERS    SwInrIn¡c     P.S.
24    CORPORATION IllD DEFENDANT JETBLUE AIRWAYS                              1000 SrcoNo AvENUE, 30rH Fr.oon
      CORPORATION'S FIRST SUP P LEMENTAL RESPONSES THERETO                    Selrrle, Wesslr.¡crou 98 104- 1064
                                                                                  TELEPHONE (206) 382-1000
      (NO. 2:18-cv-015 l0-RSM) - l9
25                                                                                FACSIMTLE (20 6) 386-7 343



26
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 21 of 59




                EXHIBIT 2
            Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 22 of 59


  From: Mark Rose mark@sheridanlawfirm.com
Subject:Karrani - Def's Supplemental Answer to Interrogatory 2 and Related Discovery Requests
   Date:April 16, 2019 at 10:45 PM
     To:Caryn Jorgensen cjorgensen@millsmeyers.com, John Fetters jfetters@millsmeyers.com, Samantha Pitsch
        spitsch@millsmeyers.com
    Cc: Jack Sheridan jack@sheridanlawfirm.com, Alea Carr alea@sheridanlawfirm.com, Jamie Wipf Jamie@sheridanlawfirm.com,
        Paula McMillan pmcmillan@millsmeyers.com, Anna Armitage aarmitage@millsmeyers.com, Linda Wheeler
        lwheeler@millsmeyers.com


       Counsel:

       Defendant’s supplemental answer to Interrogatory No. 2 claims that “as agreed between the
       parties in the March 27, 2019 discovery conference, the scope of this interrogatory [No. 2] is
       limited to litigated claims related to discrimination.” We disagree that Plaintiff agreed to limit
       Interrogatory No. 2 in this way. Mr. Sheridan’s notes of the meet-and-confer state that he
       "agreed to limit the request to the 'heavy set black woman' who Ms. Pancerman claimed
       ‘screamed' at her on another flight and to lawsuits related to discrimination by passengers.” He
       stated as much in the sworn declaration filed in support of Plaintiff's motion to compel. See Dkt.
       # 20 at p. 5, para. 13 ("At the meet-and-confer, I agreed to limit the requests for other
       complaints to the woman involved in the prior incident with Ms. Pancerman and to other
       lawsuits by passengers related to discrimination. Opposing counsel could not agree at this
       time.”).

       Please supplement your answers to Interrogatory No. 2 and to the related discovery requests
       (Interrogatory No. 3, and RFP 3-6) without delay, to include responsive information and records
       related to the previous complaint of racial discrimination made against Ms. Pancerman. The
       limited documents produced so far about the previous discrimination complaint against
       Pancerman, JB 414-415, do not include all of the information requested by our discovery
       requests, including for example the address, telephone number and email address of the
       person who made the complaint. See Interrogatory No. 3. The copy of the passenger’s
       complaint that we received has several sentences cut off at the side of the page and nowhere
       does it state the passenger’s name or any other identifying information. It seems very unlikely
       that the passenger wrote several paragraphs to complain to the company, but nowhere listed
       her name or provided the company with any way for JetBlue to respond to her complaint. In
       fact, part of the document produced seems to reveal there may have been back-and-forth with a
       customer service representative at JetBlue. See JB 414 (“Thank you for your thoughtful
       email.”). If there was such a response by JetBlue, we have not yet received it.

       Please confirm that you have no other documents or versions of JB 414 showing the text that
       was cut off in the version we received; nor any other documents regarding the prior
       discrimination complaint against Ms. Pancerman (such as statements by other crew members
       or the “Supervisor” referenced in the complaint), and please provide a signed verification page
       for Defendant's supplemental answers to support any claim made that no further responsive
       records exist with respect to the prior incident or with regard to other litigated claims involving
       allegations of discrimination since 2014.

       Thank you,

       Mark Rose
       Sheridan Law Firm, P.S.
       705 2nd Ave., Suite 1200
       Seattle, WA 98104
       Tel: (206) 381-5949
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 23 of 59




                EXHIBIT 3
         Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 24 of 59




On Thursday, February 11, 2016 12:04 PM, Dear JetBlue <DearJetBlue@jetblue.com> wrote:

To: REDACTED
Re: Email received – Thur 2/11/2016, Contact # 189893

Hello REDACTED ,

Thanks so much for your reply and for the additional information to pass along. Please know action
will be internally taken regarding what you've sent us. We again, truly apologize that your
experience with us wasn't a better one.

We really do hope to be able to coach these crewmembers individually as well as pass along the
compliments you shared with us. We hope to improve service and to make sure your next experience
with us is a great one.

JetBlue wishes you a most wonderful weekend Fatima, we hope to see you onboard again in the near
future.

Warm regards,

Clarissa
Customer Commitment
JetBlue Airways
Crewmember

On Thursday, February 11, 2016 5:32 AM, Customer wrote:

Hi Clarissa,

Thank you for your thoughtful email. I would like to file a racial discrimination complaint against both
Cindy and the Airport Supervisor (very tall, light skinned black male) who I never got his name, but was
told that he is also the supervisor for LAX.

Cindy was intentional in wanting get me off of the plane although I did nothing wrong. While waiting to
speak with Michael, she continued to walk past and move in close to me as she initially did. When I
realized this, I looked at another passenger who also saw what she was doing and said to him, "do you
see how she's moving in close to me to try have us bump into each other?" And, the white male
passenger in the front row agreed. Her actions further indicated that her racially targeted actions were
intentional. Michael. another airport supervisor, vouched me but she continued to protest that she wanted
me off the plane. Subsequently, that did in fact happen.

After I was removed from the plane, I explained the situation to the light skinned black male supervisor
who then refused to accommodate me in any capacity other than getting rescheduling my trip. He also
yelled at me when I explained to him that I felt racially targeted, as did other non-black passengers that I
spoke to while the situation was happening. He told me that I wasn't discriminated against. While this
discussion took place, another ethnic woman was taken off the plane and brought in from the plane
kicking and screaming. I looked at the officers when they came back in and said in a joking manner, "what
is this get black people off Jet Blue tonight?" The officer laughed, understanding that it was just an
observational joke, but the light skinned black male supervisor started yelling at me and told me that I




                                                                            JB 000423
                                          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
        Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 25 of 59



wasn't racially discriminated against and we both proceeded to argue. He told me to take another airline if
that's how I felt. He said he would not get me a hotel or a cab to LAX. He was extremely rude.

This is not to say that everyone on Jet Blue was being discriminatory. Another stewardess was cordial,
Michael, the other airport supervisor was extremely sweet and accommodating and I really appreciate
that. Both officers and the additional flight crew and baggage handlers were awesome. We joked around
and made the best of the situation, but Cindy and the light skinned black male airport supervisor were the
worse I ever dealt with and left a bad taste in my mouth with flying on Jet Blue. That was my first time in
Hollywood and my return flight experience was the worse I EVER experienced.


On Wednesday, February 10, 2016 3:50 PM, Dear JetBlue <DearJetBlue@jetblue.com> wrote:

To: REDACTED
Re: Email received - Mon 2/8/2016, Contact # 184863

Hello REDACTED ,

We truly regret to hear of the inappropriate and unprofessional conduct of our Inflight
crewmember
Cindy. We appreciate you taking the time to provide us with valuable and specific feedback
regarding
your experience with both our Inflight and Airport crewmembers. We truly apologize for the
distress
and frustration caused.

We strive to provide excellent service and therefore take such matters seriously. Please know
your
comments have been forwarded on to Inflight and Airport Leadership for an internal review and
individual coaching opportunity to improve service for the future. As a gesture of goodwill and
invitation to fly with us again, we've issued you a JetBlue credit of $50 to your Travel Bank.
Please accept this credit given in the spirit intended.

If you have any questions about Travel Bank, feel free to visit http://bit.ly/nKT44N for helpful
information about how to use and manage credits.

We appreciate your patience with this matter and look forward to the opportunity to better serve
you
the next time JetBlue suits your travel needs.

Sincerely,

Clarissa
Customer Commitment
JetBlue Airways
Crewmember

Original Message Follows:
------------------------
From: REDACTED
To: dearjetblue@jetblue.com
Subject: Delays/Cancellations/Diversions:Crewmember Specific:2



                                                                            JB 000424
                                          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
       Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 26 of 59



Date: February 8, 2016 9:18:17 PM MST

E-mail Address: REDACTED
Customer: REDACTED
Phone Number: REDACTED
TrueBlue member: Y
PNR: SJTULB
Departure City: BUR
Destination City: JFK
Flight Date: 2/06/2016
Flight Number: 358
Urgent: N
Crewmember: Cindy (Stewardess) & Airport Supervisor (Black Male/Light)
LevelOne: Delays/Cancellations/Diversions
LevelTwo: Crewmember Specific
LevelThree:
Comments: Overall I was racially targeted by Cindy and was yelled at by the airport supervisor
(tall
light skin black male).

I put my bags on the seat and asked a passing stewardess (Cindy) where I can store my
camera bag.
She told me to just open the bin directly above my seat section. Figuring that bin was full since it
was closed, I saw an open overhead bin down the aisle. I turned back around and grabbed my
bags from
the seat. With one in each hand, I backed up out of my seat section with my back towards the
aisle.
Unbeknownst to me this stewardess was blocking my seat section. So when I backed up, I
thought she
had continued down the aisle since no further words were exchanged. I bumped into her and
she said
"stop pushing me!" I never pushed her. She said you're not getting on this flight, which indicated
that she intentionally stood there for me to bump into her. Her face was to my back, so she saw
me
moving backwards but I didn't see her. I asked how I pushed her, she said with my hand.
Recommend Level: 0
Response Required:




                                                                         JB 000425
                                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 27 of 59




                EXHIBIT 4
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 28 of 59


  From:    Mark Rose mark@sheridanlawfirm.com
Subject:   Re: Karrani - Confidential Designation of JB 000414
   Date:   April 18, 2019 at 3:16 PM
     To:   Samantha Pitsch spitsch@millsmeyers.com
    Cc:    Caryn Jorgensen cjorgensen@millsmeyers.com, John Fetters jfetters@millsmeyers.com, Jack Sheridan
           jack@sheridanlawfirm.com, Alea Carr alea@sheridanlawfirm.com, Jamie Wipf Jamie@sheridanlawfirm.com, Paula McMillan
           pmcmillan@millsmeyers.com, Anna Armitage aarmitage@millsmeyers.com, Linda Wheeler lwheeler@millsmeyers.com


       Samantha,

       Thank you for providing this supplemental production. It's certainly a fuller response than what
       we were originally provided, but it is still not a full and complete answer to Interrogatories 2-3
       and RFPs 3-6. For example, we still don’t have the complainant’s home address or information
       about what internal investigation and follow-up was conducted by JetBlue.

       Will you agree to drop the Confidential designations on these new documents if we redact the
       names and other identifying information? We still have to file the evidence with the Court, since
       it is Defendant’s position that "there is no justifiable need for production of [Pancernman's]
       personnel file.” The records just produced contradict that position, stating that, owing to the
       discrimination complaint filed against Pancerman, “action will be internally taken regarding
       what you've sent us” and that JetBlue would "coach these crewmembers individually.”

       Please advise if you’ll agree to us redacting the records you’ve provided or whether we'll need
       to meet-and-confer on that issue tomorrow. If you’re agreeable to redactions, we can send you
       a draft of those to review and approve before we filed our reply.

       Mark Rose
       Sheridan Law Firm, P.S.
       705 2nd Ave., Suite 1200
       Seattle, WA 98104
       Tel: (206) 381-5949
           On Apr 18, 2019, at 2:50 PM, Samantha Pitsch <spitsch@millsmeyers.com> wrote:

           Counsel,

           We just received the following records from JetBlue which we think resolve the issue noted
           below. The a>ached produc@ons show the complaint referenced in JB 000414 in its na@ve
           format (JB 000420–422) as well as JetBlue’s response to the complaint (JB 000423–425). Please
           let us know if you agree that this issue is now resolved.

           Thank you,
           Samantha
           ___________________________________
           Samantha K. Pitsch | vCard
           A5orney
           Mills Meyers Swartling P.S.
           1000 Second Avenue, 30th Floor | Sea>le, WA 98104
           Direct: 206.812.7476 | Recep@on: 206.382.1000
           spitsch@millsmeyers.com | www.millsmeyers.com

           This e-mail is intended to be private. It may contain privileged or conﬁden@al
           informa@on. If you are not a person for whom the e-mail was intended, please no@fy me
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 29 of 59




                EXHIBIT 5
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 30 of 59


  From:    Samantha Pitsch spitsch@millsmeyers.com
Subject:   Re: Karrani - Confidential Designation of JB 000414
   Date:   April 18, 2019 at 5:55 PM
     To:   Mark Rose mark@sheridanlawfirm.com
    Cc:    Caryn Jorgensen cjorgensen@millsmeyers.com, John Fetters jfetters@millsmeyers.com, Jack Sheridan
           jack@sheridanlawfirm.com, Alea Carr alea@sheridanlawfirm.com, Jamie Wipf Jamie@sheridanlawfirm.com, Paula McMillan
           pmcmillan@millsmeyers.com, Anna Armitage aarmitage@millsmeyers.com, Linda Wheeler lwheeler@millsmeyers.com


           Mark,

           None of the documents JetBlue has identified to-date contain the passenger’s home address. We will
           ask JetBlue again if it has the passenger’s home address (as previously explained, passengers do
           not always provide their home addresses to JetBlue). If JetBlue can locate a home address for this
           passenger, it will be produced.

           It would be an unreasonable invasion of the non-party passenger’s privacy to file the complaint
           documents in the context of this motion. We have consulted with JetBlue and it has agreed to
           produce crew member Pancerman’s personnel file subject to protective order. This production should
           resolve the issues you have identified.

           Thank you,
           Samantha

           ___________________________________
           Samantha K. Pitsch | vCard
           Attorney
           Mills Meyers Swartling P.S.
           1000 Second Avenue, 30th Floor | Seattle, WA 98104
           Direct: 206.812.7476 | Reception: 206.382.1000
           spitsch@millsmeyers.com | www.millsmeyers.com

           This e-mail is intended to be private. It may contain privileged
           or confidential information. If you are not a person for whom
           the e-mail was intended, please notify me immediately and
           then permanently delete the e-mail, including any
           attachments, without copying or forwarding it.
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 31 of 59




                EXHIBIT 6
              Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 32 of 59


  From:    Caryn Jorgensen cjorgensen@millsmeyers.com
Subject:   RE: Karrani - Other Incident Discovery
   Date:   April 19, 2019 at 6:29 PM
     To:   Mark Rose mark@sheridanlawfirm.com
    Cc:    Jack Sheridan jack@sheridanlawfirm.com, John Fetters jfetters@millsmeyers.com, Alea Carr alea@sheridanlawfirm.com,
           Samantha Pitsch spitsch@millsmeyers.com, Jamie Wipf Jamie@sheridanlawfirm.com, Paula McMillan
           pmcmillan@millsmeyers.com, Anna Armitage aarmitage@millsmeyers.com, Linda Wheeler lwheeler@millsmeyers.com


      Mark,

      I have just arrived home from the deposi5on in Bellingham so was not able to respond sooner.

      If JetBlue iden5ﬁes further responsive informa5on related to the complaints against Ms.
      Pancerman, that informa5on will be produced in response to Interrogatory Nos 2, 3, and 7 as well
      as the associated RFPs.

      Have a good weekend, Caryn

      Caryn Geraghty Jorgensen | Bio | vCard
      Managing Shareholder
      Admitted in Washington, Oregon, and Alaska
      Aviation | Product Liability | Tort and Commercial Litigation

      Mills Meyers Swartling P.S.
      1000 Second Avenue, 30th Floor | Seattle, WA 98104
      310 K Street, Suite 200 | Anchorage, AK 99501

      Direct: 206.812.7463 | Cell: 206.390.3276
      cjorgensen@millsmeyers.com | www.millsmeyers.com

      This e-mail is intended to be private. It may contain privileged or
      confidential information. If you are not a person for whom the e-mail was intended,
      please notify me immediately and then permanently delete the e-mail,
      including any attachments, without copying or forwarding it.


      From: Mark Rose <mark@sheridanlawﬁrm.com>
      Sent: Friday, April 19, 2019 12:13 PM
      To: Caryn Jorgensen <cjorgensen@millsmeyers.com>
      Cc: Jack Sheridan <jack@sheridanlawﬁrm.com>; John FeTers <jfeTers@millsmeyers.com>; Alea
      Carr <alea@sheridanlawﬁrm.com>; Samantha Pitsch <spitsch@millsmeyers.com>; Jamie Wipf
      <Jamie@sheridanlawﬁrm.com>; Paula McMillan <pmcmillan@millsmeyers.com>; Anna Armitage
      <aarmitage@millsmeyers.com>; Linda Wheeler <lwheeler@millsmeyers.com>
      Subject: Re: Karrani - Other Incident Discovery

      I’m sorry but I don’t understand what part is inaccurate. You wrote:
                        As for further supplemental responses to interrogatory numbers 2 and 3, we
                        can further supplement those responses to reference the informa8on
                        disclosed in the supplemental responses to Interrogatory No. 7 and RFP 13
                        which capture the complaints alleging discrimina5on against crew member
                        Pancerman.


                                                  EXHIBIT 6 - PAGE 1
     Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 33 of 59



Is JetBlue agreeing to supplement and provide a narra5ve response to Interrogatories 2-3, irrespec5ve of
whether it locates any addi5onal informa5on? If so, we'll advise the Court of that. Otherwise, we need
to have the Court to resolve the issue.

Mark Rose
Sheridan Law Firm, P.S.
705 2nd Ave., Suite 1200
SeaTle, WA 98104
Tel: (206) 381-5949



       On Apr 19, 2019, at 11:54 AM, Caryn Jorgensen <cjorgensen@millsmeyers.com>
       wrote:

       Mark,

       That is not accurate. JetBlue has produced the informa5on located to-date. We have
       agreed to supplement with any addi5onal responsive informa5on JetBlue is able to
       locate.

       Caryn

       Caryn Geraghty Jorgensen | Bio | vCard
       Managing Shareholder
       Admitted in Washington, Oregon, and Alaska
       Aviation | Product Liability | Tort and Commercial Litigation

       Mills Meyers Swartling P.S.
       1000 Second Avenue, 30th Floor | Seattle, WA 98104
       310 K Street, Suite 200 | Anchorage, AK 99501

       Direct: 206.812.7463 | Cell: 206.390.3276
       cjorgensen@millsmeyers.com | www.millsmeyers.com

       This e-mail is intended to be private. It may contain privileged or
       confidential information. If you are not a person for whom the e-mail was
       intended, please notify me immediately and then permanently delete the e-
       mail, including any attachments, without copying or forwarding it.


       From: Mark Rose <mark@sheridanlawﬁrm.com>
       Sent: Friday, April 19, 2019 11:45 AM
       To: Caryn Jorgensen <cjorgensen@millsmeyers.com>
       Cc: Jack Sheridan <jack@sheridanlawﬁrm.com>; John FeTers
       <jfeTers@millsmeyers.com>; Alea Carr <alea@sheridanlawﬁrm.com>; Samantha
       Pitsch <spitsch@millsmeyers.com>; Jamie Wipf <Jamie@sheridanlawﬁrm.com>;
       Paula McMillan <pmcmillan@millsmeyers.com>; Anna Armitage
       <aarmitage@millsmeyers.com>; Linda Wheeler <lwheeler@millsmeyers.com>
       Subject: Re: Karrani - Other Incident Discovery
                                    EXHIBIT 6 - PAGE 2
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 34 of 59


 Subject: Re: Karrani - Other Incident Discovery

 Okay. We’ll advise the Court in our Reply that we have asked JetBlue to provide
 substan5ve answers to Interrogatory No. 2-3 with respect to the prior discrimina5on
 complaint ﬁled against Ms. Pancerman, but that Defendant has not agreed to
 provide any answer beyond the limited informa5on it provided in response to
 Interrogatory 7.

 To be clear, Defendant’s answer to Interrogatory 7 and RFP 13 does not sa5sfy what
 is requested in Interrogatory 2-3, because it state:

       INTERROGATORY NO. 3: For each complaint stated above, please iden8fy each
       inves8ga8on, whether internal and external, into each complaint. For each
       inves5ga5on, state:
       …
       (d) The iden8ty of the persons or en88es conduc8ng the inves8ga8on;
       (e) Findings and conclusions of each inves8ga8on;
       (f) Whether the ﬁndings and conclusions were wriKen;
       (g) Ac8ons taken by you as a result of each inves8ga8on.


 If you’re saying that JetBlue has iden5ﬁed no documents reﬂec5ng an inves5ga5on
 into the prior complaint, and hence has no responsive documents to produce, can’t
 you state there was no inves5ga5on in a signed answer to Interrogatory No. 3?
  That’s the admissible evidence we'll be asking the Court to order produced.

 Mark Rose
 Sheridan Law Firm, P.S.
 705 2nd Ave., Suite 1200
 SeaTle, WA 98104
 Tel: (206) 381-5949




       On Apr 19, 2019, at 11:32 AM, Caryn Jorgensen
       <cjorgensen@millsmeyers.com> wrote:

       Mark,

       What I can tell you is that we have produced the responsive informa5on
       JetBlue has iden5ﬁed to-date within the scope of other incident
       discovery agreed to (li5gated claims and complaints of discrimina5on
       involving crew member Pancerman). If addi5onal responsive
       informa5on is discovered, it will be produced. We also are in the
       process of obtaining a veriﬁca5on signature for the supplemental
       discovery responses and will forward it upon receipt.

       As for further supplemental responses to interrogatory numbers 2 and
       3, we can further supplement those responses to reference the
       informa5on disclosed in the supplemental responses to Interrogatory

                             EXHIBIT 6 - PAGE 3
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 35 of 59

      informa5on disclosed in the supplemental responses to Interrogatory
      No. 7 and RFP 13 which capture the complaints alleging discrimina5on
      against crew member Pancerman.

      Best regards, Caryn

      Caryn Geraghty Jorgensen | Bio | vCard
      Managing Shareholder
      Admitted in Washington, Oregon, and
      Alaska
      Aviation | Product Liability | Tort and Commercial Litigation

      Mills Meyers Swartling P.S.
      1000 Second Avenue, 30th Floor | Seattle, WA 98104
      310 K Street, Suite 200 | Anchorage, AK 99501

      Direct: 206.812.7463 | Cell: 206.390.3276
      cjorgensen@millsmeyers.com | www.millsmeye
      rs.com

      This e-mail is intended to be private. It may contain privileged or
      confidential information. If you are not a person for whom the e-
      mail was intended, please notify me immediately and
      then permanently delete the e-mail, including any attachments,
      without copying or forwarding it.


      From: Mark Rose <mark@sheridanlawﬁrm.com>
      Sent: Friday, April 19, 2019 11:05 AM
      To: Caryn Jorgensen <cjorgensen@millsmeyers.com>
      Cc: Jack Sheridan <jack@sheridanlawﬁrm.com>; John FeTers
      <jfeTers@millsmeyers.com>; Alea Carr <alea@sheridanlawﬁrm.com>;
      Samantha Pitsch <spitsch@millsmeyers.com>; Jamie Wipf
      <Jamie@sheridanlawﬁrm.com>; Paula McMillan
      <pmcmillan@millsmeyers.com>; Anna Armitage
      <aarmitage@millsmeyers.com>; Linda Wheeler
      <lwheeler@millsmeyers.com>
      Subject: Re: Karrani - Conﬁden5al Designa5on of JB 000423-425

      Caryn,

      I appreciate your coopera5on, but as I explained in my email last night, the
      issue is that we have no idea what Ms. Pancerman’s ﬁle will reveal. Based on
      her deposi5on tes5mony, in which she denied having ever received discipline
      for her treatment of passengers, we expect the produc5on of her personnel
      ﬁle is unlikely to oﬀer a full and complete response to our requests seeking
      the speciﬁcs about what inves5ga5on, if any, JetBlue conducted in response
      to the prior discrimina5on complaint against Ms. Pancerman.

      This is now the fourth 5me in this email thread that I’m asking the ques5on:
      Will JetBlue agree to provide a supplemental wriKen answer

                            EXHIBIT 6 - PAGE 4
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 36 of 59


       Will JetBlue agree to provide a supplemental wriKen answer
      to Interrogatories 2-3 and to the related RFPs 3-6, so we can have clear
      answers as to what inves8ga8on, if any, was made following the prior
      wriKen discrimina8on complaint against Ms. Pancerman?

      As I stated before, we're being tasked with proving a nega5ve and need to
      show the jury that the statements made to the prior complainant were just
      lip-service (“your comments have been forwarded on to Inﬂight and Airport
      Leadership for an internal review”; “ac5on will be internally taken regarding
      what you've sent”; and JetBlue will "coach these crew members
      individually”) and there was likely liTle to no inves5ga5on or any meaningful
      follow-up on the prior complaint alleging that a passenger was “racially
      targeted” by Ms. Pancerman, who had the passenger removed from her
      ﬂight prior to take-oﬀ. These quota5ons are all taken from JB 423-425, which
      precisely why we’re being pushed to present the document to the Court, so
      we can explain why the supplemental answers and produc5on JetBlue has
      provided to date remain inadequate.

      Mark Rose
      Sheridan Law Firm, P.S.
      705 2nd Ave., Suite 1200
      SeaTle, WA 98104
      Tel: (206) 381-5949




             On Apr 19, 2019, at 8:22 AM, Caryn Jorgensen
             <cjorgensen@millsmeyers.com> wrote:

             Mark,

             The sensi5vi5es around passenger and JetBlue employee
             privacy ﬂow in part from Plain5ﬀ’s counsels’ decision to
             ﬁle police reports submiTed by JetBlue’s crew with their
             personal addresses on them. Those reports were then
             included in the media aTen5on Plain5ﬀ pursued aper
             ﬁling. Just as Plain5ﬀ has asked for his own privacy to be
             respected in this process, JetBlue reasonably asks that its
             passengers’ and employees’ privacy be respected.

             JB 423-425 is materially diﬀerent from JB 412-413. The
             passenger iden5ﬁed in 412-413 was a witness to the
             subject event and has agreed to appear for deposi5on. By
             voluntarily providing informa5on both to JetBlue aper the
             ﬂight and to the par5es in the li5ga5on demonstrates that
             passenger’s willingness to have his informa5on revealed.

             There is no equivalency to the passenger who was not
             simply a witness but was actually involved in another,
             unrelated incident.

                            EXHIBIT 6 - PAGE 5
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 37 of 59

           unrelated incident.

           That being said, we will agree to de-designate JB 423-425
           but we ask that you and Jack think carefully about
           whether ﬁling that document in the public docket is
           necessary to the present issues.

           JetBlue has agreed to produce the informa5on Plain5ﬀ has
           requested, in par5cular, Ms. Pancerman’s personnel ﬁle, in
           light of the comment on JB 423. We produced JB423-425
           to you the day we received it. Consequently, the comment
           in that document changed our analysis regarding the
           discoverability of Ms. Pancerman’s personnel ﬁle.

           We s5ll need to conduct a review of her personnel ﬁle to
           determine if anything (e.g., SSN, other non-responsive,
           conﬁden5al informa5on) needs to be redacted before
           produc5on – but the key piece is that JetBlue has agreed
           to produce her ﬁle.

           This should obviate the need to ﬁle JB 423-425 with the
           Court at this 5me.

           We appreciate your professional courtesies and good
           judgment in this regard,

           Caryn

           Caryn Geraghty Jorgensen
           | Bio | vCard
           Managing Shareholder
           Admitted in Washington, Oregon,
           and Alaska
           Aviation | Product Liability | Tort and
           Commercial Litigation

           Mills Meyers Swartling P.S.
           1000 Second Avenue, 30th Floor | Seattle, WA
            98104
           310 K Street, Suite 200 | Anchorage, AK 99501

           Direct: 206.812.7463 | Cell: 206.390.3276
           cjorgensen@millsmeyers.com | www.
           millsmeyers.com

           This e-mail is intended to be private. It may contain
           privileged or confidential information. If you are not a
           person for whom the e-mail was intended,
           please notify me immediately and then permanently

                         EXHIBIT 6 - PAGE 6
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 38 of 59

           please notify me immediately and then permanently
           delete the e-mail, including any attachments, without
           copying or forwarding it.


           From: Mark Rose <mark@sheridanlawﬁrm.com>
           Sent: Friday, April 19, 2019 7:35 AM
           To: Samantha Pitsch <spitsch@millsmeyers.com>
           Cc: Caryn Jorgensen <cjorgensen@millsmeyers.com>; John
           FeTers <jfeTers@millsmeyers.com>; Jack Sheridan
           <jack@sheridanlawﬁrm.com>; Alea Carr
           <alea@sheridanlawﬁrm.com>; Jamie Wipf
           <Jamie@sheridanlawﬁrm.com>; Paula McMillan
           <pmcmillan@millsmeyers.com>; Anna Armitage
           <aarmitage@millsmeyers.com>; Linda Wheeler
           <lwheeler@millsmeyers.com>
           Subject: Re: Karrani - Conﬁden5al Designa5on of JB
           000414

           Correc5on:

                 We ask that Defendant please reconsider its
                 posi5on and withdraw the Conﬁden5al
                 designa5on as to JB 423-425, with the
                 understanding that we agree to redact all
                 passenger iden5fying informa5on from the
                 document.

           Here is a copy of the document showing our proposed
           redac5ons.

           Mark Rose
           Sheridan Law Firm, P.S.
           705 2nd Ave., Suite 1200
           SeaTle, WA 98104
           Tel: (206) 381-5949




                 On Apr 18, 2019, at 9:17 PM, Mark Rose
                 <mark@sheridanlawﬁrm.com> wrote:

                 Counsel,

                 I'm disappointed with this latest response, as it
                 seems JetBlue is going to force us to ﬁle another
                 unnecessary mo5on to seal, when it should
                 instead just agree that the previous passenger
                 complaint made against Ms. Pancerman (once
                            EXHIBIT 6 - PAGE 7
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 39 of 59




                EXHIBIT 7
     Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 40 of 59




                                                        de w                  esta en Mora.
                                                                                                                                                   C
Acta Numero:                                , , ---,          (    . L/

En la ciudad                                       de Guzman, Distrito Nacional, Capital de la                              Republica
Dominicana, a I s                                       ~ ~ dfas, del mes de                   septiembre del ano dos mil
dieciocho (2018 . Actuando a Requerimi~~                               Mayreni Lisairys De Los Santos, dominicana,
soltera, emplea a privada, mayor de edad, portadora de la cedula de identidad y electoral No.
                                                                                                      REDACTED                        REDACTED
REDACTED            , domiciliada y residente en la calle Luis Escoto Gomez,                                         , Edificio
                                        REDACTED
           , Apa tamento No.                  ,     del Sector Ensanche Serralles, de esta ciudad de Santo
Domingo, Distri o Nacional, quien tiene cdmo Abogados constituidos y apoderados especiales
para todos los mes y consecuencias legale~ del presente acto, a los Licenciados Felix Moreta
Familia y An          Mendez Comas, dominidanos, mayores de edad, casados, Abogados de los
Tribunales de I Republica, titulares de las dedulas de identidad y electoral Nos. REDACTED                                                  y
REDACTED              respectivamente, debidaf ente inscritos en el Colegio de Abogados de la
                                                                                                                                    REDACTED
Republica Dom nicana, con estudio profesrnal abierto                              en la Calle Andres Julio Aybar                               ,
                                 REDACTED
Edificio REDACTED       , Apto.             del Sector Ensanche Piantini, de esta ciudad de Santo ~~=mi!~ ...
                                                              I                                                            ~};
Distrito Nacion I, con el telefono (REDACTED                             , lugar donde mi Requeriente                      ~'fo
expresa eleccio de domicilio, para todos los fines y consecuencias legales del pr ~ e a
todas las conse uencias J·urfdicas de tal elec~ion·----------------------------------------
                                                                   ,
                                                                                                                     i----.
                                                                                                                     o     q-,fuac,lde
                                                                                                                              .---~---E
                                                                                                                      ~ 4ta. Sala de la
                                                              1                                                        ~    Civil
Yo; Ariel Pauli o Caraballo, dominicano, T ayor de edad,                               casado, Alguacil de              ~ dos'd
                                                                                                                           ~ I.
Cuarta Sala de a Camara Civil y Comercial r el Juzgado de Primera Instancia del Distn                                                 mm!l
portador de la edula de identidad y electoral No. REDACTED , con mi domicilio y residencia
                                                   REDACTED
                                                              I
establecido en a Calle Caonabo No.                     del Sector Los REDACTED del Municipio Santo Domingo
                                                              I.
Este, Provincia de Santo Domingo, debidamente nombrado, recibido y juramentado para el
regular ejercici       de los actos de mi propio ministerio. Expresamente y en virtud del anterior
                                                              I
Requerimiento, me he trasladado dentro ~e esta misma ciudad, a la Avenida Winston Churchill,
                                                                                                     REDACTED
esquina Calle REDACTED                                  Plaza REDACTED                 , Local No.              de esta ciudad de
 Santo     m·        , Distrit     acional         ue s ldo de tiene su domicilio social la entidad JET BLUE
 AIR            ) ORP             T                                       z    alli,    hablando       personalmente                     con
                                                                          quien        me     declaro            y         dijo           ser


                                                                                                                           Pagina 1 de 2




                                                                                                                      JB 000177
     Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 41 of 59




                                                 de mi Requerida y tener calidad para recibir el
presente acto, seg n _sus propias declaraf iones,      de lo cual doy fe; Le He Notificado a mi
Requerida          BLUE AIRWAYS CORPORATION, en su expresada calidad, que mi
Requeriente, po media del presente acto:


Primero: Le I tima Formalmente y Le Pone en Mora, para que en el improrrogable
plazo de un ( ) dia franco, contado a + rtir de la presente notificaci6n, proceda a pagar en
ma nos de sus    ogados apoderados, la suf a de Quince Mil D61ares de los Estados Unidos
de America,       n 00/100 (US$15,000. 0), coma justa reparaci6n por los daf\os y perjuicios
materiales y m rales, causados a mi Req eriente,       por los maltratos ocasionados, en el servicio
de transporteereo prestado por la entidl d JET BLUE AIRWAYS CORPORATION, en el vuelo
                                        I
1705 procede te desde el Aeropuerto [ nternacional de Orlando FL, Estados Unidos de
America, salie do el dfa 14 del mes de sdptiembre del af\o 2017; y llegando el viernes 15 de
septiembre del aFio 2017, al Aeropuerto I hternacional de Las Americas, en la ciudad de Santo
Domingo, Distri o Nacional, Capital de la   Rt Jblica Dominicana.
Segundo: Que mi Requirente por media del presente acto, le declara y advierte a mi Requerida,
que de no ob emperar al presente Requ+ miento, mi Requeriente procedera por las vfas de
derecho estab cidas en su favor, a los fines de obtener el pago                de la indemnizaci6n
correspondient , por los daFios y perjuicios materiales y morales que le han sido ocasionados por
mi Requerida a mi Requeriente, sin perjuicio de las demits disposiciones previstas por la ley; Baja
las Mas Amplia y Expresas Reservas de Dj echos y Acciones;-------------------------------------------


Y para que mi    equerida, JET BLUE AIR IAYS CORPORATION, no pretenda alegar ignorancia o
desconocimien     del presente acto, asf se lo he Notificado, Declarado y Advertido, dejandole
copia del prese te acto, en las manos de     1J persona con quien dije haber hablado en el lugar de
mi traslado, a to que consta de dos (02j hojas, escritas a computadora, las cuales han sido
debidamente fi madas, rubricadas y sellad~s por mf, Alguacil infrascrito que certifico y doy fe.
Co              · RD$   {{[)Q .__,
 ~\>~' ~ll
:q;oy
~




                                                                                          Pagina 2 de 2




                                                                                       JB 000178
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 42 of 59




                EXHIBIT 8
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               1 of 13
                                                                    43 PageID:
                                                                       of 59   1



Ravinder S. Bhalla, Esq. (RB2870)
Florio Perrucci Steinhardt & Fader, L.L.C.
218 Rt. 17 North, Suite 400
Rochelle Park, NJ 07662
Attorneys for Plaintiffs Ramsey Abdallah,
Ghadeer Abbasi, and Riyanna Abdallah


                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
______________________________________________
                                              :
RAMSEY ABDALLAH, individually and as          :
Guardian for RIYANNA ABDALLAH;                :
and GHADEER ABBASI, individually and as       :
Guardian for RIYANNA ABDALLAH                 :
                                              :
                                              :
                                 Plaintiffs   :            COMPLAINT & JURY DEMAND
                                              :
v.                                            :
                                              :
JETBLUE AIRWAYS CORPORATION, and              :
JOHN DOES 1-10                                :                Electronically Filed
                                                       :
                                 Defendants. :
______________________________________________:


       Plaintiffs Ramsey Abdallah and Ghadeer Abbasi, individually and as guardians ad litem

for Riyanna Abdallah complaining against all Defendants, hereby assert and state as follows:

                                           INTRODUCTION

       1.      This action seeks redress for an incident where Defendants removed Plaintiffs,

United States citizens of the Islamic religious faith, from its airplane, on the false pretext that the

Plaintiffs' 18-month-old infant was on a "No-Fly list". In actuality, Defendants engaged and/or

participated in unlawful profiling against Plaintiffs on the basis of race, religion and/or national

origin, in violation of federal and state statutory and common laws.



                                           {00182907.DOCX}1
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               2 of 13
                                                                    44 PageID:
                                                                       of 59   2



        2.      This action is a lawsuit brought under 42 U.S.C.A. 1981, et seq., 42 U.S.C.A.

2000(d), 42 U.S.C. 2000(a), 49 U.S.C.A. § 40127(a), and the common law, alleging, among

other things, discrimination based on race and/or religion in the making and enforcement of

contracts under federal law, discrimination based on race and/or religion in a place of public

accommodation under federal law, discrimination based on race and/or color of skin by a

program receiving federal funding under federal law, false imprisonment under common law,

discrimination based on race and/or religion in a place of public accommodation under New

Jersey State law, and failure to train and supervise under the common law. This action is wholly

based on the intentional, discriminatory, and reckless conduct of Jet Blue Corporation and Jet

Blue Corporation Employees, John Does 1-10, (collectively, "Defendants") who acted without

regard to the rights of the Plaintiffs.

                                           Jurisdiction

        3.      Jurisdiction is proper in the District Court of New Jersey under 28 U.S.C.A. §§

1333 and 1343(a)(4), which provides for federal jurisdiction in matters, "[t]o recover damages

or to secure equitable or other relief under any Act of Congress providing for the protection of

civil rights, including the right to vote." This Court has pendant and supplemental jurisdiction

over the state law claims alleged in this Complaint pursuant to 28 U.S.C.A. § 1367. Declaratory

and injunctive relief is authorized by 28 U.S.C.A. §§ 1343(a)(4), 2201, and 2202.

                                              Venue

4.      Under 28 USC § 1391, Venue is properly laid in any venue where any defendant resides.

28 USC § 1391(d) provides that corporate defendants reside "in any judicial district in which

such defendant is subject to the court’s personal jurisdiction with respect to the civil action in

question." 28 USC § 1391(d)



                                          {00182907.DOCX}2
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               3 of 13
                                                                    45 PageID:
                                                                       of 59   3



                                              THE PARTIES

        5.          Plaintiff, Ramsey Abdallah, is a resident of the State of New Jersey.          Mr.

Abdallah is Plaintiff Ghadeer Abbasi's husband and Riyanna Abdallah's biological and custodial

parent. Mr. Abdallah is a United States citizen of the Islamic religious faith who resides at 38

Porter Road, West Orange, New Jersey 07052. All Plaintiffs are of Arab racial descent.

        6.          Plaintiff Ghadeer Abbasi is a resident of the State of New Jersey. Mrs. Abbasi is

Plaintiff Ramsey Abdallah's wife and Riyanna Abdallah's biological and custodial parent. Mrs.

Abbasi is a United States citizen and a visibly identifiable practitioner of the Islamic religious

faith. Mrs. Abbasi wears a hijab, a traditional Islamic head covering. At the time of the actions

in this complaint, Mrs. Abbasi was three (3) months pregnant. Mrs. Abdallah resides at 38

Porter Road, West Orange, New Jersey, 07052.

        7.          Riyanna Abdallah is a minor child whose interests are represented by her parents,

who are each Plaintiffs and who are Riyanna's Guardians pursuant to R. 46:26-2(a). Riyanna

resides with the Plaintiffs at 38 Porter Road, West Orange, New Jersey, 07052.                Riyanna

Abdallah was approximately 18-months-old on the day of the events that led to this Complaint.

        8.          Defendant JetBlue Corporation ("JetBlue") is an air carrier operating flights to 84

destinations in 24 states, and twelve (12) countries in the Caribbean, South America and Latin

America. Defendant regularly conducts flights to and from Newark Liberty International Airport

in this district.

        9.          Defendants John Does 1-10 are fictitious names supplied for unknown corporate

entities and or unknown individuals who engaged in the conduct identified herein.




                                              {00182907.DOCX}3
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               4 of 13
                                                                    46 PageID:
                                                                       of 59   4




                               FACTS COMMON TO ALL COUNTS

       10.     Plaintiffs are United States citizens residing in West Orange, New Jersey. They

are practitioners of the Islamic religious faith.     Plaintiff Ghadeer Abbasi wears a hijab, a

traditional Islamic head covering.

       11.     On May 10, 2012, Plaintiffs were removed from their JetBlue flight ("the Flight")

from Ft. Lauderdale/Hollywood Airport with service to Newark Liberty International Airport,

along with an unrelated Muslim family.

       12.     The Plaintiffs had previously flown on JetBlue and other airlines, both

domestically and internationally, along with their daughter, on multiple occasions. During these

travels, aside from routine secondary screenings, none of the Plaintiffs had ever been subject to

any form of extra scrutiny during the security check process. The Plaintiffs, on a return trip from

Newark, encountered no security issues in flying with JetBlue to Ft. Lauderdale/Hollywood

Airport ("the Airport") from Newark.

       13.     On or about May 10, 2012, and upon arrival at the Airport, each member of

Plaintiffs had: a) checked in at the front departure desk and were provided boarding passes; b)

were permitted to check-in their luggage, which was checked-in and placed on the plane the

Plaintiffs were to board to Newark; c) passed through the departure gate checkpoint administered

by the United States Transportation Security Administration ("TSA"); d) had their boarding

passes scanned at the departure gate; and e) were permitted to be seated onboard the aircraft. At

no point during the check-in, ticketing, baggage check-in, security check, or boarding process

were the Plaintiffs set aside for any additional screening or otherwise advised that there was any

security problem with their presence on the flight.



                                          {00182907.DOCX}4
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               5 of 13
                                                                    47 PageID:
                                                                       of 59   5



       14.     Thereafter, JetBlue employees engaged in a course of conduct against the

Plaintiffs that was discriminatory, intentional, reckless, and demonstrated a complete ignorance

of passenger rights under federal and state civil rights law and the common law.

       15.     First, JetBlue employees, without question, arbitrarily removed an unrelated

Muslim family, later identified as the "Hussein family".

       16.     Thereafter, a Jet Blue Flight Attendant pointed out the Plaintiffs to a JetBlue

Supervisor. The Supervisor approached the Plaintiffs and, in a voice audible to other passengers,

falsely claimed that the Plaintiffs needed to leave the plane because the Transportation Security

Administration (the "TSA" or "Federal Authorities") wanted to speak with the Plaintiffs.

       17.     Remarkably, the Supervisor stated to Plaintiffs they were being removed because

their eighteen (18) month old baby, Riyanna, was on a "No-Fly-List" administered by the TSA.

       18.      By failing to handle this situation discreetly and in a manner that did not cause

embarrassment to the Plaintiffs, other passengers on the flight began making comments about

and to the Plaintiffs. These comments included words to the effect of "oh, they got you, good, I

just wonder what they got you on" and "thank God they caught you." Similar comments were

made by other passengers in rows ahead as the Plaintiffs disembarked. Such unwarranted

humiliation against the Plaintiffs could have been avoided had the Supervisor conducted himself

in a professional manner.

       19.     The Plaintiffs, who at all times were fearful of unwanted and undeserved criminal

prosecution should they not comply with airline personnel and who were compliant with JetBlue

employees at all times, then disembarked the airplane. As the Plaintiffs disembarked, Ramsey

Abdallah asked the Supervisor for an explanation as to what was happening to the Plaintiffs.




                                         {00182907.DOCX}5
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               6 of 13
                                                                    48 PageID:
                                                                       of 59   6



The Supervisor falsely replied that JetBlue was following standard procedure and that their

removal was prompted by the TSA, not JetBlue.

       20.     Once outside the departure gate, where they were met by armed Broward County

Sheriff's officers, the Plaintiffs were further subjected to discriminatory conduct as they were

kept standing in full visibility of other airline passengers, some of whom began to photograph the

Plaintiffs with their camera phones, and were subjected to further humiliation.

       21.     The Plaintiffs at this time learned that the other family pulled off the flight was

also Muslim couple with young child, the Hussein family.

       22.     The Plaintiffs remained outside the flight gate and complied with JetBlue

employees for a period of about 45 minutes. At no point during this time period did JetBlue

indicate, nor did the Plaintiffs believe, that they were free to leave, use the restroom, or were free

to use the rest of the Airport's facilities. The Plaintiffs were falsely led to believe by JetBlue that

they were under investigation by the TSA and they would be prosecuted if they did not cooperate

with JetBlue employees.

       23.     After about 45 minutes, Defendants, who had summoned the TSA to the flight

gate, determined that Riyanna was not on a "No-Fly list" and did not pose a security concern in

any manner. Defendants then stated that the Plaintiffs could reboard the airplane.

       24.     By this point, Plaintiffs naturally felt too upset, embarrassed and humiliated to

reboard the plane, and asked for their checked-in baggage back. Remarkably, JetBlue refused to

remove the Plaintiffs' luggage and the luggage travelled on to Newark even though the Plaintiffs

were not on the plane.




                                           {00182907.DOCX}6
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               7 of 13
                                                                    49 PageID:
                                                                       of 59   7



       25.     For two days following this incident, Plaintiff Ghadeer Abbasi, pregnant at the

time, could not use the restroom without assistance because of the physical and emotional impact

this incident placed upon her.

       26.     JetBlue thereafter made false statements of "clarification" to the media as to the

facts surrounding this event. Left with no plausible explanation, JetBlue blamed a "computer

glitch" for the incident. Upon information and belief, no such computer-glitch occurred. This

explanation was proffered as a pre-text to cover up unlawful discrimination against Plaintiffs.

       27.     The TSA thereafter released a statement confirming JetBlue lied to Plaintiffs in

their assertion that they were removed from the plane by the TSA. Specifically, the TSA was

quoted in the Atlanta Journal-Constitution as stating:

               TSA did not flag this child as being on the No Fly list.
               TSA was called to the gate by the airline and after talking
               to the parents and confirming through our vetting system,
               TSA determined the airline had mistakenly indicated the
               child was on a government watchlist.

       28.     Defendants' conduct in removing a docile 18-month-old infant from an airplane

was arbitrary, capricious, unreasonable, and had no rational basis in safety.

                                           COUNT ONE

(DISCRIMINATION IN THE MAKING AND ENFORCEMENT OF CONTRACTS, 42 U.S.C. § 1981B, ET

                                               SEQ.)

       29.     Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       30.     Defendants purposefully and intentionally deprived the Plaintiffs from the

enjoyment of the benefits, privileges, terms, and conditions of the Plaintiff's contractual

relationship with JetBlue in violation of 42 U.S.C. § 1981(b), et seq.



                                          {00182907.DOCX}7
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               8 of 13
                                                                    50 PageID:
                                                                       of 59   8



       31.     Defendants are prohibited from imposing additional restrictions on protected

minorities in order to receive service as doing so would alter the terms and conditions of the

contractual relationship.

       32.     No similarly situated white passengers were, at the time of this incident, accused

of being on the No-Fly list, removed from the airplane, or detained in any contrived extra

security measures imposed by Defendants.

       33.     As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.

                                            COUNT TWO

       (DISCRIMINATION IN A PLACE OF PUBLIC ACCOMMODATION 42 U.S.C.A. 2000A)

       34.     Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       35.     Defendants discriminated against the Plaintiffs in a place of public

accommodation, by failing to provide full and equal enjoyment of services and privileges of use

of the Ft. Lauderdale/Hollywood Airport, while the Plaintiffs were forced to stand at the flight

gate and subjected to humiliation in violation of 42 U.S.C.A. 2000a, et seq.

       36.     Plaintiffs were left in open, public isolation at the airport gate based upon their

race, ethnicity, religion and/or national origin.

       37.     Defendants refusal to remove the Plaintiffs' luggage from the plane, which was

demanded while in the Airport terminal, was a discriminatory denial of service in a place of

public accommodation.

       38.     As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.



                                            {00182907.DOCX}8
 CaseCase
      2:14-cv-01050-JLL-JAD
           2:18-cv-01510-RSM Document
                              Document130-1
                                         FiledFiled
                                               02/18/14
                                                    04/19/19
                                                          PagePage
                                                               9 of 13
                                                                    51 PageID:
                                                                       of 59   9



       39.    As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.

                                        COUNT THREE

 (DISCRIMINATION UNDER TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C.A. 2000D)

       40.    Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       41.    Upon information and belief, Defendant JetBlue is a recipient of federal funding.

       42.    Defendants did discriminate against the Plaintiffs in a manner actionable under

Title VI of the Civil Rights Act of 1964, 42 U.S.C. 2000d.

       43.    Plaintiffs were intentionally discriminated against on the basis of their religion

and/or race when they were pointed out and subjected to humiliation and to unnecessary

additional scrutiny by Defendants despite having passed through all normal security protocols.

       44.    As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.

                                         COUNT FIVE

                                   (FALSE IMPRISONMENT)

       45.    Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       46.    Defendants did commit the tort of falsely imprisonment against the Plaintiffs

under the common law.

       47.    From the time the Plaintiffs were made aware they were to disembark the plane

until the time they would have been allowed to reboard the plane, the Plaintiffs were instructed




                                         {00182907.DOCX}9
Case 2:14-cv-01050-JLL-JAD
     Case 2:18-cv-01510-RSMDocument
                             Document
                                    1 30-1
                                      Filed 02/18/14
                                            Filed 04/19/19
                                                      Page Page
                                                           10 of 13
                                                                 52 PageID:
                                                                    of 59   10



to stay within an area defined by Defendants and in fact the Plaintiffs did not, in fact, leave this

area out of fear for their safety, harassment, and unwanted and unnecessary prosecution.

       48.     Defendants falsely stated that they were acting under TSA instruction and that

their confinement to the area that defendants had instructed was under color of law.

       49.     The Plaintiffs at no point believed that they were free to leave and believed that

should they try to leave they would face criminal prosecution and Defendants' use of force.

       50.     The Plaintiffs' perception was rational in light of Defendants' actions, Defendants'

statements, the amount of security at any airport, in light of the terrible events of 9/11, and in

light of common knowledge.

       51.     As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.

                                             COUNT SIX

                       (DISCRIMINATION PURSUANT TO 49 U.S.C.A. § 40127)

       52.     Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       53.     Defendants are an air carrier and, as an air carrier, are expressly prohibited from

discriminating against a person in air transportation on the basis of race, color, national origin or

religion, pursuant to 49 U.S.C. § 40127.

       54.     Defendants, engaging in conduct described herein, did discriminate against the

Plaintiffs in violation of 49 U.S.C. § 40127.

       55.     As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.




                                           {00182907.DOCX}10
Case 2:14-cv-01050-JLL-JAD
     Case 2:18-cv-01510-RSMDocument
                             Document
                                    1 30-1
                                      Filed 02/18/14
                                            Filed 04/19/19
                                                      Page Page
                                                           11 of 13
                                                                 53 PageID:
                                                                    of 59   11



                                               COUNT NINE

                               (FAILURE TO TRAIN AND SUPERVISE)

       56.     Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully

incorporated herein.

       57.     JetBlue is responsible for the training, instruction, and supervision of JetBlue

agents, employees, and/or representatives who were at all times relevant acting within the scope

of their employment.

       58.     Upon information and belief, JetBlue provided grossly inadequate training,

instruction, and supervision to JetBlue’s agents, employees, and/or representatives.

       59.     JetBlue should have known, trained, and instructed its employees, agents, and/or

representatives to be aware that it is illegal profiling to consider a passenger's religion or

ethnicity in determining whether a passenger is a security threat or engaged in a form of

suspicious activity.

       60.     JetBlue’s inadequate training, and supervision of its employees, agents, and/or

representatives subjected Plaintiffs to unlawful discrimination on the basis of their race,

ethnicity, religion, and/or national origin.

       61.     As a direct and proximate result of Defendants' conduct, Plaintiffs have been

harmed.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       a.      Declare that the actions of Defendants described above constituted discrimination

       on the basis of race, religion, color, ethnicity, alienage, ancestry, and/or national origin in

       violation of 42 U.S.C. § 1981, 42 U.S.C. § 2000a, 42 U.S.C. § 2000d, and 49 U.S.C. §


                                           {00182907.DOCX}11
Case 2:14-cv-01050-JLL-JAD
     Case 2:18-cv-01510-RSMDocument
                             Document
                                    1 30-1
                                      Filed 02/18/14
                                            Filed 04/19/19
                                                      Page Page
                                                           12 of 13
                                                                 54 PageID:
                                                                    of 59   12



       40127;

       b.       Enter a permanent injunction directing Defendants to take all affirmative steps

       necessary to remedy the effects of the illegal, discriminatory conduct described herein

       and to prevent similar occurrences in the future pursuant to 42 U.S.C. § 1981, 42 U.S.C.

       § 2000d;

       c.       Award Plaintiffs compensatory damages in an amount to be determined at trial to

       compensate them for being deprived of their right to travel as passengers in air

       transportation regardless of their perceived race, color, national origin, religion, ethnicity,

       and/or ancestry, including damages for fear, mental pain, inconvenience, humiliation,

       embarrassment, emotional distress, and financial injury, as provided under 42 U.S.C. §

       1981, 42 U.S.C. 2000a, 42 U.S.C. § 2000d, and 49 U.S.C. § 40127;

       d.       Award Plaintiffs punitive or exemplary damages against Defendants under the

       provisions of 42 U.S.C. § 1981, 42 U.S.C. 2000a, 42 U.S.C. § 2000d, and 49 U.S.C. §

       40127;

       e.       Award Plaintiffs reasonable attorney’s fees and the costs incurred in this action

       pursuant to 42 U.S.C. § 1988;

       g.       Award Plaintiffs such other relief as the Court deems just and proper.



                                              /s/ Ravinder S. Bhalla
                                              Ravinder S. Bhalla, Esq.
                                              Florio Perrucci Steinhardt & Fader, L.L.C.
                                              218 Rt. 17 North, Suite 400
                                              Rochelle Park, New Jersey 07662
                                              Attorneys for Plaintiffs Ramsey Abdallah,
                                              Ghadeer Abbasi, and Riyanna Abdallah

Dated: February 17, 2014



                                          {00182907.DOCX}12
Case 2:14-cv-01050-JLL-JAD
     Case 2:18-cv-01510-RSMDocument
                             Document
                                    1 30-1
                                      Filed 02/18/14
                                            Filed 04/19/19
                                                      Page Page
                                                           13 of 13
                                                                 55 PageID:
                                                                    of 59   13



                         CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       I hereby certify to the best of my knowledge that the above-captioned action is not

subject to any other action pending in any court or the subject of a pending arbitration

proceeding. No other action or arbitration proceeding is contemplated at this time. I know of no

other party who should be jointed in this action.



                                              /s/ Ravinder S. Bhalla
                                              Ravinder S. Bhalla, Esq.
                                              Florio Perrucci Steinhardt & Fader, L.L.C.
                                              218 Rt. 17 North, Suite 400
                                              Rochelle Park, New Jersey 07662
                                              Attorneys for Plaintiffs Ramsey Abdallah,
                                              Ghadeer Abbasi, and Riyanna Abdallah

Dated: February 17, 2014




                                         {00182907.DOCX}13
Case 2:18-cv-01510-RSM Document 30-1 Filed 04/19/19 Page 56 of 59




                EXHIBIT 9
           Case
             Case
                2:18-cv-01510-RSM
                   2:09-cv-01547-BATDocument
                                     Document30-1
                                               40 Filed 05/17/10
                                                        04/19/19 Page 1
                                                                      57ofof359




 1

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8 DOROTHY HODGES,                                     )
                                                       )
 9                                        Plaintiff,   )   Case No. C09-1547-BAT
                                                       )
10          v.                                         )   ORDER REGARDING
                                                       )   DISCOVERY AND
11 DELTA AIR LINES, INC., et al.,                      )   CONFIDENTIALITY OF
                                                       )   PASSENGER MANIFEST
12                                    Defendants.      )

13       Plaintiff is an individual proceeding against defendants Delta Air Lines and AirServ

14 Corporation. She alleges she was injured while disembarking from a flight operated by Delta Air

15 Lines with the assistance of AirServ employees. Plaintiff has filed a motion to compel seeking

16 production of (1) the passenger manifest from the flight in question and (2) the identity of the

17 FAA inspector who was on the flight. Dkt. 19. Defendants oppose the motion and request fees.

18 Dkt. 21. Having reviewed the pleadings of both parties and the relevant law, the Court hereby

19 finds and ORDERS as follows:

20                               I. PLAINTIFF’S MOTION TO COMPEL

21       (1)     Plaintiff’s motion to compel the identity of the FAA inspector is DENIED.

22 Defendants have produced the name of the inspector and stated that they have no contact

23 information for him. Dkt. 21 at 2.


     ORDER REGARDING DISCOVERY AND CONFIDENTIALITY
     OF PASSENGER MANIFEST- 1
           Case
             Case
                2:18-cv-01510-RSM
                   2:09-cv-01547-BATDocument
                                     Document30-1
                                               40 Filed 05/17/10
                                                        04/19/19 Page 2
                                                                      58ofof359




 1       (2)   Plaintiff’s motion to compel production of the passenger manifest is GRANTED.

 2 Although the manifest itself may not be admissible at trial, the request for it is “reasonably

 3 calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P. 26(b). Plaintiff has

 4 presented declarations alleging there were passengers still on board her flight at the time she was

 5 injured. It is reasonable to conclude that production of the manifest would allow plaintiff to

 6 identify any passenger who might have witnessed her fall. Defendants have also presented

 7 declarations to the effect that no passengers were present to witness the fall; however, that

 8 argument wrongly asks this Court to decide disputed facts as part of the discovery process. The

 9 Court therefore concludes that the passenger manifest is discoverable.

10       (3)   Defendants’ request for fees is DENIED.

11                                      II. PROTECTIVE ORDER

12       Recognizing that federal law limits the release of information contained in defendants’

13 passenger manifest the Court enters the following ORDER:

14       (1)   Defendants are ordered to produce the manifest by May 28, 2010.

15       (2)   The non-party passenger information to be produced by Delta Airlines shall be treated

16 as confidential and used only for the purposes of this litigation. Except upon the prior written

17 consent of Delta Airlines or upon order of this Court, the passenger information to be produced

18 by Delta Airlines in this litigation may be disclosed only to the following persons:

19             (a) Counsel of record for each party in this lawsuit, including other members of

20 counsel’s law firms and any other counsel of record associated to assist in the preparation or trial

21 of this case;

22             (b) Employees of counsel of record who assist in the preparation or trial of this case;

23             (c) Experts, non-attorney consultants, and other persons retained by the parties to


     ORDER REGARDING DISCOVERY AND CONFIDENTIALITY
     OF PASSENGER MANIFEST- 2
            Case
              Case
                 2:18-cv-01510-RSM
                    2:09-cv-01547-BATDocument
                                      Document30-1
                                                40 Filed 05/17/10
                                                         04/19/19 Page 3
                                                                       59ofof359




 1 assist in the preparation of this action retained to this litigation for the preparation or trial of this

 2 case, provided that no disclosure shall be made to any expert or consultant who is employed by a

 3 competitor of Delta Airlines;

 4               (d) Any party to this litigation;

 5               (e) Any mediator(s) retained by the parties to assist with the potential settlement of

 6 this lawsuit; and

 7               (f) The Court and its staff.

 8       (3)     No party, nor that party’s counsel or experts or any other person retained by the party

 9 to assist in the preparation of this action shall under any circumstances sell, share, advertise, or

10 publicize the non-party passenger information to be produced by Delta Airlines in this litigation.

11       (4)     This Order may not be waived modified, abandoned, or terminated, in whole or in

12 part, except by an instrument in writing signed by the parties and approved by the Court. If any

13 provision of this Order shall be held invalid for any reason whatsoever, the remaining provisions

14 shall not be affected thereby.

15       (5)     The Court retains jurisdiction over the parties and recipients of the Protected

16 Documents for the enforcement of the provisions of this Order following termination of this

17 litigation.

18       The Clerk is directed to send copies of this order to all parties of record.

19       DATED this 17th day of May, 2010.

20

21                                                           A
                                                             BRIAN A. TSUCHIDA
22                                                           United States Magistrate Judge

23


     ORDER REGARDING DISCOVERY AND CONFIDENTIALITY
     OF PASSENGER MANIFEST- 3
